
USCA1 Opinion

	




                                For the First Circuit
                                ____________________
       No. 97-8022
             PHILIP MORRIS INCORPORATED, R.J. REYNOLDS TOBACCO COMPANY,
       BROWN &amp; WILLIAMSON TOBACCO CORPORATION, AND LORILLARD TOBACCO COMPANY,
                               Plaintiffs, Appellants,
                                         v.
            L. SCOTT HARSHBARGER, ATTORNEY GENERAL OF THE COMMONWEALTH OF
          MASSACHUSETTS, AND DAVID H. MULLIGAN, MASSACHUSETTS COMMISSIONER
                                  OF PUBLIC HEALTH,
                               Defendants, Appellees.
       No. 97-8023
              UNITED STATES TOBACCO COMPANY, BROWN &amp; WILLIAMSON TOBACCO
         CORPORATION, CONWOOD COMPANY, L.P., NATIONAL TOBACCO COMPANY, L.P.,
           THE PINKERTON TOBACCO COMPANY, AND SWISHER INTERNATIONAL, INC.
                               Plaintiffs, Appellants,
                                         v.
            L. SCOTT HARSHBARGER, ATTORNEY GENERAL OF THE COMMONWEALTH OF
          MASSACHUSETTS, AND DAVID H. MULLIGAN, MASSACHUSETTS COMMISSIONER
                                  OF PUBLIC HEALTH,
                               Defendants, Appellees.
                                ____________________
                    APPEALS FROM THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                 [Hon. George A. O'Toole, Jr., U.S. District Judge]
                                ____________________

                                       Before
                               Torruella, Chief Judge,
                           Campbell, Senior Circuit Judge,
                              and Stahl, Circuit Judge.
                                ____________________
            Henry  
                  C.  
                      Dinger,  
                              P.C., with whom   Cerise  
                                                       Lim-Epstein,  Goodwin,
       Procter &amp; Hoar, LLP, Verne W. Vance, Jr., Foley, Hoag &amp; Eliot, Herbert
       Dym, E. 
                Edward 
                       Bruce, David 
                                    H. 
                                        Remes, Jarrett 
                                                       A. 
                                                          Williams,  Jason 
                                                                           A.
       Levine,  and  
                    Covington  
                               &amp;  
                                 Burling, were on brief for Philip Morris
       appellants.
            George 
                   J.  
                      Skelly, with whom   Thomas  
                                                 J.Dougherty,  Skadden, 
                                                                        Arps,
       Slate, 
              Meagher 
                      &amp; 
                        Flom 
                             LLP, A. 
                                      Hugh 
                                           Scott, Denise 
                                                         W. 
                                                            DeFranco, Choate,
       Hall  
             &amp;  
               Stewart,  John  
                               L.  
                                   Oberdorfer, Stuart  
                                                       M.  
                                                           Pape, G.  
                                                                     Kendrick
       MacDowell, and 
                      Patton 
                              Boggs, 
                                     L.L.P., were on brief for United States
       Tobacco Company appellants.
            Rebecca 
                    P. 
                       McIntyre, Assistant Attorney General, with whom Thomas
       A.  
           Barnico, Assistant Attorney General and     L.  
                                                          Scott  
                                                                 Harshbarger,
       Attorney General, were on brief for appellees.
            Carol 
                  J. 
                     Bennett,  James 
                                     P. 
                                         Jacobson, Ann 
                                                       Beimdiek 
                                                                 Kinsella, D.
       Douglas 
               Blanke, Attorneys for State of Minnesota,   Hubert 
                                                                  H. 
                                                                     Humphrey
       III, Attorney General for State of Minnesota,   Grant 
                                                              Woods, Attorney
       General for State of Arizona, 
                                    Winston Bryant
                                                  , Attorney General for State
       of Arkansas,   Daniel  
                              E.  
                                  Lundgren, Attorney General for State of
       California,  Richard  
                              Blumenthal, Attorney General for State of
       Connecticut,  Robert  
                            A.  
                                Butterworth, Attorney General for State of
       Florida, Margery 
                         S. 
                            Bronster, Attorney General for State of Hawaii,
       James  
              E.  
                 Ryan, Attorney General for State of Illinois,     Jeffrey  
                                                                           A.
       Modisett, Attorney General for State of Indiana,    Thomas 
                                                                   J.  
                                                                      Miller,
       Attorney General for State of Iowa,   J. 
                                                Joseph 
                                                       Curran, 
                                                                Jr., Attorney
       General for State of Massachusetts,  Frank 
                                                  J. 
                                                     Kelley, Attorney General
       for State of Michigan,   Mike  
                                      Moore, Attorney General for State of
       Mississippi, Jeremiah 
                              W. 
                                 (Jay) 
                                       Nixon, Attorney General for State of
       Missouri, Joseph 
                         P. 
                            Mazurek, Attorney General for State of Montana,
       Frankie  
                Sue  
                    Del  
                         Papa, Attorney General for State of Nevada,    Peter
       Verniero, Attorney General for State of New Jersey, 
                                                          Tom Udall
                                                                   , Attorney
       General for State of New Mexico, Dennis C. Vacco, Attorney General for
       State of New York, Heidi Heitkamp, Attorney General for State of North
       Dakota, Betty 
                     D. 
                        Montgomery, Attorney General for State of Ohio,  W.A.
       Drew 
            Edmondson, Attorney General for State of Oklahoma,   Hardy 
                                                                       Myers,
       Attorney General for State of Oregon,    D.  
                                                    Michael  
                                                             Fisher, Attorney
       General for State of Pennsylvania, 
                                         Jeffrey B. Pine
                                                        , Attorney General for
       State of Rhode Island, 
                             Mark Barnett
                                         , Attorney General for State of South
       Dakota, Dan 
                   Morales, Attorney General for State of Texas,  Jan 
                                                                      Graham,
       Attorney General for State of Utah,  William 
                                                    Sorrell, Attorney General
       for State of Vermont, 
                             Christine O. Gregoire
                                                 , Attorney General for State
       of Washington, Darrell 
                               V. 
                                  McGraw, 
                                          Jr., Attorney General for State of
       West Virginia, 
                      James E. Doyle
                                    , Attorney General for State of Wisconsin,
       Louise H. Renne
                      , City Attorney, City of San Francisco, CA, 
                                                                 Elizabeth D.
       Laporte, Chief of Special Litigation, City of San Francisco, CA, and

       Andrew Y.S. Cheng, Deputy City Attorney, City of San Francisco, CA, on
       brief amici curiae.
                                 ___________________
                                   August 18, 1997
                                 ___________________

                      STAHL, Circuit Judge.  This appeal implicates the
            constitutionality of a Massachusetts statute requiring
            manufacturers of tobacco products to disclose the additives and
            nicotine-yield ratings of their products to the state's public
            health department.  See Mass. Gen. Laws ch. 94, S 307B (the
            "Disclosure Act"). Plaintiffs-appellants, various
            manufacturers of cigarette and smokeless tobacco products
            (collectively, "the manufacturers"),   appeal the district
            court's grant of summary judgment in favor of defendants-
            appellees, the Attorney General of the Commonwealth of
            Massachusetts and the Massachusetts Public Health Commissioner
            (collectively, the "Commonwealth"). The district court ruled
            that neither the Federal Cigarette Labeling and Advertising
            Act, as amended (the "FCLAA"), 15 U.S.C. SS 1331-41, nor the
            Comprehensive Smokeless Tobacco Health Education Act of 1986
            (the "Smokeless Tobacco Act"), 15 U.S.C. SS 4401-08, preempts
            enforcement of the Disclosure Act. We affirm the district
                                
            1.  The specific plaintiffs-appellants are Philip Morris
            Incorporated, R.J. Reynolds Tobacco Company, Brown &amp; Williamson
            Tobacco Corporation, and Lorillard Tobacco Company ("the
            cigarette manufacturers") [case no. 97-8022], and United States
            Tobacco Company, Brown &amp; Williamson Tobacco Corporation,
            Conwood Company, L.P., National Tobacco Company, L.P., The
            Pinkerton Tobacco Company, and Swisher International, Inc.
            ("the smokeless tobacco manufacturers") [case no. 97-8023].
            2.  The specific defendants-appellees are L. Scott Harshbarger,
            Attorney General of the Commonwealth of Massachusetts, and
            David H. Mulligan, Massachusetts Commissioner of Public Health. 
                                         -4-
                                          4

            court's ruling, and hold that the Massachusetts Disclosure Act
            survives the manufacturers' preemption challenge.
                                         I.
                                  Prior Proceedings
                      On August 2, 1996, the day Massachusetts enacted the
            Disclosure Act, the cigarette manufacturers and smokeless
            tobacco manufacturers separately filed complaints in the
            district court claiming that the FCLAA and the Smokeless
            Tobacco Act preempt the state law by operation of the Supremacy
            Clause of the U.S. Constitution. Their complaints also allege
            that the Disclosure Act violates the Constitution's Commerce
            Clause, Full Faith and Credit Clause, Fourteenth Amendment Due
            Process Clause, and Takings Clause. The parties cross-moved
            for summary judgment in each case on the preemption claim
            only. After denying the manufacturers' motions and granting
            the Commonwealth's motions, the district court amended its
            orders to certify the rulings for immediate appeal.   See 28
            U.S.C. S 1292(b). We accepted interlocutory review of the
            orders. This appeal, therefore, presents only the preemption
            issue.
                                
            3.  Because of the Disclosure Act's extended effective date,
            now November 1, 1997, the district court deferred consideration
            of the manufacturers' contemporaneously filed preliminary
            injunction motion.
                                         -5-
                                          5

                                         II.
                                 Standard of Review
                      We review the district court's summary judgment
            ruling de novo.  Grenier v. Vermont Log Bldgs., Inc., 96 F.3d
            559, 562 (1st Cir. 1996). The ultimate determination whether
            federal law preempts the Massachusetts Disclosure Act presents
            a legal question subject to plenary review. See 
                                                            United States
            v. Rhode 
                     Island 
                            Insurers' 
                                      Insolvency 
                                                  Fund, 80 F.3d 616, 619
            (1st Cir. 1996).
                                        III.
                                     Background
                      We begin our discussion with a review of the
            Massachusetts Disclosure Act and the allegedly preempting
            federal laws, the FCLAA and the Smokeless Tobacco Act. In so
            doing, we consider the statutes' respective texts along with
            the relevant historical and legislative contexts in which they
            were enacted. See 
                              Wood v. 
                                      General Motors Corp.
                                                          , 865 F.2d 395,
            404 (1st Cir. 1988) ("In determining questions of preemption,
            a court 'must examine the [act's] language against the
                                
            4.  When reviewing a district court's ruling on cross-motions
            for summary judgment, normally we consider the record evidence
            with respect to each motion separately "to determine whether
            either of the parties deserves judgment as a matter of law on
            facts that are not disputed." 
                                         Wightman v. 
                                                     Springfield Terminal
            Ry. Co.
                  , 100 F.3d 228, 230 (1st Cir. 1996). 
                                                       See 10A Charles A.
            Wright, et al., 
                           Federal Practice and Procedure
                                                         , S 2720 (1983).
            Here, however, because no underlying issue of material fact
            exists with respect to the legal preemption issue, we need not
            consider each motion separately.
                                         -6-
                                          6

            background of its legislative history and historical context.'"
            (quoting California 
                                Federal 
                                        Sav. 
                                             &amp; 
                                               Loan 
                                                    Ass'n v. Guerra, 479
            U.S. 272, 284 (1987))). Next, we set forth controlling
            preemption principles. Finally, we turn to the question
            whether the federal statutes in question either expressly or
            impliedly preempt the state statute. We note here that the
            Supreme Court's splintered decision in  Cipollone v.  Liggett
            Group, 
                   Inc., 505 U.S. 504 (1992) heavily influences, and in
            part controls, much of our analysis.
            A.  The Disclosure Act
                      The Massachusetts Disclosure Act, the first state law
            of its kind, requires "any manufacturer of cigarettes, snuff or
            chewing tobacco sold in the commonwealth" to provide the
            Massachusetts Department of Public Health with a yearly report
            that lists for each brand of product (1) any added constituents
            "in descending order according to weight, measure, or numerical
            count," and (2) nicotine yield ratings "which shall accurately
            predict nicotine intake for average consumers." Mass. Gen.
            Laws ch. 94, S 307B. The Disclosure Act permits public access
            to the information reported upon an appropriate finding by the
            department. Specifically, the Disclosure Act provides:
                      The nicotine yield ratings so provided,
                      and any other such information in the
                      annual reports with respect to which the
                      department determines that there is a
                                
            5.  See Appendix A for the full text of the Disclosure Act,
            Mass. Gen. Laws ch. 94, S 307B.
                                         -7-
                                          7

                      reasonable scientific basis for concluding
                      that the availability of such information
                      could reduce risks to public health, shall
                      be public records.
            Id.
                      The public health department may not reveal the
            information, however, "unless and until the attorney general
            advises that such disclosure would not constitute an
            unconstitutional taking."     Id. Despite the apparent
            limitations on the public health department's ability to
            disclose reported information, the record evidence strongly
            indicates that Massachusetts officials intend to publicize the
            information. At oral argument before us, the Commonwealth
            avoided direct questions on this issue, asserting that the
            department's potential publication of the information was
            irrelevant for the purposes of preemption analysis. For the
            purposes of this case, we assume that the department will make
            the information publicly available at the first legal and
            practical opportunity.
                      By all indications, the purpose of the Disclosure Act
            is to further the public health and education in the use of
            tobacco products. Most tellingly, the law prefaces its
            requirements with the phrase, "For the purpose of protecting
            the public health." Mass. Gen. Laws. ch. 94, S 307B. In
            addition, a press release from the Massachusetts Executive
            Department released the same day the law was enacted describes
            the Disclosure Act as a "consumer protection law" intended to
                                         -8-
                                          8

            foster educated decision-making on the part of the consuming
            public when choosing specific tobacco products and brands.
            B.  The Federal Laws
                      1.  FCLAA
                      In 1964, the United States Surgeon General's advisory
            committee issued a report that officially acknowledged the
            health hazards of cigarette smoking.  See Cipollone, 505 U.S.
            at 513. In response, the Federal Trade Commission, as well as
            several states, moved to impose various warning requirements in
            the advertising and labeling of cigarettes.    Id.; see  also
            Palmer v. 
                     Liggett Group, Inc.
                                        , 825 F.2d 620, 622 n.1 (1st Cir.
            1987) (noting example of New York State's warning label
            requirement). In light of "the potential maze of conflicting
            state regulations" on the subject, 
                                              Palmer, 825 F.2d at 622, and
            after "vigorous lobbying by all forms of interested groups and
            business," 
                      id. at 623, Congress passed the first version of the
            FCLAA in 1965 (the "1965 Act").
                      Congress expressly declared its "policy and purpose"
            in passing the 1965 Act:
                      It is the policy of the Congress, and the
                      purpose of this chapter, to establish a
                      comprehensive Federal program to deal with
                      cigarette labeling and advertising with
                      respect to any relationship between
                      smoking and health, whereby --
                           (1) the public may be adequately
                      informed that cigarette smoking may be
                      hazardous to health by inclusion of a
                      warning to that effect on each package of
                      cigarettes; and
                                         -9-
                                          9

                           (2) commerce and the national
                      economy may be (A) protected to the
                      maximum extent consistent with this
                      declared policy and (B) not impeded by
                      diverse, nonuniform, and confusing
                      cigarette labeling and advertising
                      regulations with respect to any
                      relationship between smoking and health.
            15 U.S.C. S 1331.
                      The  Cipollone majority determined that the
            congressional purposes expressed in this provision were as
            follows:
                      (1) adequately informing the public that
                      cigarette smoking may be hazardous to
                      health, and (2) protecting the national
                      economy from the burden imposed by
                      diverse, nonuniform, and confusing
                      cigarette labeling and advertising
                      regulations.
            505 U.S. at 514. The Court explained that the 1965 Act
            contained specific provisions "[i]n furtherance of" these two
            congressional purposes. Id. To further the first purpose, the
            1965 Act mandated a specific warning label on each cigarette
            package: "CAUTION: CIGARETTE SMOKING MAY BE HAZARDOUS TO YOUR
            HEALTH."  Id.  To further the second purpose,   see id., the
            statute included a preemption provision, which, in part,
            prohibited the requirement of any "statement relating to
            smoking and health . . . on any cigarette package" other than
            the required warning. 15 U.S.C. S 1334(a). The 1965 Act's
            preemption clause further provided:
                                
            6.  At the time, the warning was not required in cigarette
            advertisements.
                                        -10-
                                         10

                      (b) No statement relating to smoking and
                      health shall be required in the
                      advertising of any cigarettes the packages
                      of which are labeled in conformity with
                      the provisions of this Act.
            15 U.S.C. S 1334(b) (1966),  amended by 15 U.S.C. S 1334(b)
            (1969).
                      By its own terms, the 1965 Act's provisions
            pertaining to advertising were to terminate on July 1, 1969.
            See Cipollone, 505 U.S. at 514. As that date approached,
            various federal agencies and states proposed new and differing
            cigarette advertising regulations.  See id. at 514-15. Faced
            with these various initiatives, Congress amended the 1965 Act
            by enacting the Public Health Cigarette Smoking Act of 1969
            (the "1969 Act"). The 1969 Act strengthened the wording of the
            required warning label: "WARNING: THE SURGEON GENERAL HAS
            DETERMINED THAT CIGARETTE SMOKING IS DANGEROUS TO YOUR HEALTH."
            15 U.S.C. S 1333 (1969). The 1969 Act also prohibited
            cigarette advertising on television and radio and any other
            "medium of electronic communication subject to the jurisdiction
            of the Federal Communications Commission." 15 U.S.C. S 1335.
            Relatedly, the 1969 Act replaced subsection (b) of the 1965
                                
            7.  For example, the Federal Communications Commission
            announced its intention to consider a proposed rule that would
            ban radio and television cigarette commercials, while the
            California Senate "passed a total ban on both print and
            electronic cigarette advertisements."  Cipollone, 505 U.S. at
            515 &amp; n.11.
                                        -11-
                                         11

            Act's preemption provision with the following language, which
            remains unmodified to this day:
                      (b) No requirement or prohibition based
                      on smoking and health shall be imposed
                      under State law with respect to the
                      advertising or promotion of any cigarettes
                      the packages of which are labeled in
                      conformity with the provisions of this
                      chapter.
            15 U.S.C. S 1334(b).
                      The Senate Report accompanying the 1969 Act explained
            that the revised preemption provision was necessary "to avoid
            the chaos created by a multiplicity of conflicting [cigarette
            advertising] regulations." S. Rep. No. 91-566 (1970),
            reprinted in 1970 U.S.C.C.A.N. 2652, 2663. Senate Report 566
            further explained:
                      The State preemption of regulation or
                      prohibition with respect to cigarette
                      advertising is narrowly phrased to preempt
                      only State action based on smoking and
                      health. It would in no way affect the
                      power of any State or political
                      subdivision of any State with respect to
                      the taxation or the sale of cigarettes to
                      minors, or the prohibition of smoking in
                      public buildings, or similar police
                      regulations. It is limited entirely to
                      State or local requirements or
                      prohibitions in the advertising of
                      cigarettes.
            Id.
                                
            8.  In part because the new preemption provision banned
            restrictions imposed only "under State law," in 1972 the
            Federal Trade Commission extended the warning requirements to
            print advertisements, as well as package labels.          See
            Cipollone, 505 U.S. at 515.
                                        -12-
                                         12

                      After thirteen years of scientific research following
            the enactment of the 1969 Act, Congress further amended the
            FCLAA in 1984.    See H.R. Rep. No. 98-805, at 12 (1984),
            reprinted  
                       in 1984 U.S.C.C.A.N. 3718, 3725. Renewed
            congressional action in this area was in part prompted by
            Surgeon General reports identifying cigarette smoking as a
            significant risk factor in certain health problems.  See  id.
            (citing various reports). In light of the Surgeon General's
            findings and testimony before congressional committees on the
            adverse health effects of smoking, Congress passed the
            Comprehensive Smoking Education Act of 1984 (the "CSEA").
            House Report 805 states that the CSEA's purpose was "to assist
            the public to make an informed decision about whether or not to
            smoke" "[b]y updating the cigarette warning, by giving
            visibility and emphasis to smoking research and educational
            activities at the Federal level, and by working closer with the
            private voluntary health section."  Id.
                      Specifically, the CSEA amended the FCLAA by
            establishing a new warning system employing four different
            smoking and health messages that would alternate quarterly on
            both cigarette packages and cigarette advertisements.  See 15
            U.S.C. S 1333. To reflect the new multiple-warning system,
                                
            9.  Specifically, the new required warnings, all preceded by
            the phrase "SURGEON GENERAL'S WARNING," are as follows:
                      Smoking Causes Lung Cancer, Heart Disease,
                      Emphysema, And May Complicate Pregnancy.
                                        -13-
                                         13

            Congress amended the language in the statute's purpose
            provision from "a warning . . . on each package of cigarettes
            [that] cigarette smoking may be hazardous to health" to
            "warning notices on each package of cigarettes and in each
            advertisement of cigarettes [to inform the public] about any
            adverse health effects of cigarette smoking." S 1331(1);  see
            also H.R. Rep. No. 98-805, at 21, 1984 U.S.C.C.A.N. at 3734.
                      Significantly, the CSEA inserted an ingredient
            reporting provision that requires cigarette manufacturers to
            "annually provide the Secretary [of Health and Human Services]
            with a list of the ingredients added to tobacco in the
            manufacture of cigarettes which does not identify the company
            which uses the ingredients or the brand of cigarettes which
            contain the ingredients." S 1335a(a). The provision permits,
            but does not mandate, "[a] person or group of persons required
            to provide [the list] . . . [to] designate an individual or
            entity to provide the list."  Id. In other words, to satisfy
            their respective reporting obligations, the manufacturers at
            their option may submit ingredient lists to a designated agent
                                
                      Quitting Smoking Now Greatly Reduces
                      Serious Risks to Your Health.
                      Smoking by Pregnant Women May Result in
                      Fetal Injury, Premature Birth, and Low
                      Birth Weight.
                      Cigarette Smoke Contains Carbon Monoxide.
            15 U.S.C. S 1333(a).
                                        -14-
                                         14

            who, in turn, may transmit the information aggregately to the
            Secretary. Based on the information provided, the Secretary
            must transmit a report to Congress, "[a]t such times as the
            Secretary considers appropriate," on research activities
            regarding the health effects or risks of cigarette additives
            and "any other information which the Secretary determines to be
            in the public interest." S 1335a(b)(1).
                      The ingredient reporting provision sets forth
            comprehensive procedures for the Secretary's handling of the
            information provided. Specifically, S 1335(b)(2)(A) provides:
                      Any information provided to the Secretary
                      under subsection (a) of this section shall
                      be treated as trade secret or confidential
                      information subject to section 552(b)(4)
                      of Title 5 [providing a trade secret
                      exemption for disclosure under the Freedom
                      of Information Act] and section 1905 of
                      Title 18 [criminalizing disclosure of
                      confidential information by federal
                      officers or employees] and shall not be
                      revealed, except as provided in paragraph
                      (1) [respecting the Secretary's report to
                      Congress], to any person other than those
                      authorized by the Secretary in carrying
                      out their official duties under this
                      section.
                                
            10.  The legislative history indicates that the ingredient
            reporting provision was intended to supply statutory authority
            to require the manufacturers to disclose such information and
            to "supercede, in all respects, a voluntary agreement entered
            into between the Department of [Health and Human Services] and
            the tobacco industry in June, 1982." H.R. Rep. No. 98-805, at
            21, 1984 U.S.C.C.A.N. at 3734. The House Report further
            explains that the provisions "would permit the federal
            government to initiate the toxicologic research necessary to
            measure any health risk posed by the addition of additives and
            other ingredients to cigarettes during the manufacturing
            process."  Id.
                                        -15-
                                         15

            Despite the above-quoted section, a different section directs
            that the Secretary may not withhold the ingredient information
            from a requesting congressional committee or subcommittee. 
                                                                      See
            S 1335a(b)(2)(B).  When faced with such a request, the
            Secretary must make the list available "and shall, at the same
            time, notify in writing the person who provided the list of
            such request."  Id.
                      Finally, the ingredient reporting provision requires
            the Secretary to ensure the confidentiality of the provided
            information through specified procedures, including (1) a
            designated custodian of the information who, when the
            information is not in use, "shall store it in a locked cabinet
            or file" and shall keep a record of those inspecting or using
            the information, S 1335a(b)(2)(C), and (2) a requirement that
            persons "permitted access to the information shall be
            instructed in writing not to disclose the information to anyone
            who is not entitled to have access to the information." Id.
                                
            11.  The extent to which members of Congress are bound, if at
            all, by the disclosure prohibitions is unclear.
            12.  It appears, however, that the Secretary's efforts to
            notify the "person who provided the list" may be made more
            difficult by S 1335a(a)'s option for such persons to provide
            the list anonymously through a third individual or entity.
            13.  In addition to amending the FCLAA, the CSEA also directed
            the Secretary to "establish and carry out a program to inform
            the public of any dangers to human health presented by
            cigarette smoking." 15 U.S.C. S 1341. Pursuant to that
            program, the Secretary must, 
                                        inter 
                                             alia, coordinate research on
            smoking and health and disseminate pertinent information to the
            public.  See  id. at S 1341(a). To carry out some of the
                                        -16-
                                         16

                      2.  Smokeless Tobacco Act
                      By the mid-1980's, Congress became concerned that the
            federal government's activities regarding the health hazards of
            cigarette smoking had no parallel with respect to smokeless
            tobacco products such as chewing tobacco and snuff.   See S.
            Rep. No. 99-209, at 3-4 (1986), 
                                           reprinted 
                                                     in 1986 U.S.C.C.A.N.
            7, 9-10. According to the Senate Report, the almost-forgotten
            smokeless tobacco industry had staged a recent resurgence, and
            its products had become popular among youth who apparently
            considered such products a safe alternative to cigarette
            smoking.  See id. Further evidence suggested that smokeless
            tobacco products contained "significant levels of nicotine" and
            were linked with serious health problems, including oral
            cancer. S. Rep. No. 99-209, at 3, 1986 U.S.C.C.A.N. at 9.
            These factors led to regulatory action on various fronts
            regarding warning requirements. For example, a Massachusetts
            executive order required warning labels on the packages and in
            the advertisements of smokeless tobacco products.         Id.
            Additionally, prominent health organizations called for
            legislation requiring warnings, and the FTC enlisted the
            Surgeon General's help in considering a petition seeking
                                
            program's purposes, the CSEA established an Interagency
            Committee on Smoking and Health.  See id. at S 1341(b). The
            Secretary also must transmit specified reports to Congress
            regarding efforts made to inform the public of the health
            hazards of smoking and other information.        See  id. at
            S 1341(c).
                                        -17-
                                         17

            warning label requirements.  See S. Rep. No. 99-209, at 4-5,
            1986 U.S.C.C.A.N. at 10-11.
                      In response to such regulatory efforts, Congress
            passed the Comprehensive Smokeless Tobacco Health Education Act
            of 1986 (the "Smokeless Tobacco Act"). The Senate Report
            explains that the Act, "for the most part, simply extends the
            provisions of . . . the Comprehensive Smoking Education Act of
            1984, to include smokeless tobacco products." S. Rep. No. 99-
            209, at 5, 1986 U.S.C.C.A.N. at 11. Thus, the Smokeless
            Tobacco Act contains features similar, but not identical, to
            the FCLAA as amended by the CSEA.
                      Like the CSEA, the Smokeless Tobacco Act calls for
            the Secretary of Health and Human Services to "establish and
            carry out a program to inform the public of any dangers to
            human health resulting from the use of smokeless tobacco
            products." 15 U.S.C. S 4401. The statute bans the advertising
            of smokeless tobacco on radio and television,  see 15 U.S.C.
            S 4402(f), and establishes a rotating warning requirement for
            package labels and advertising, with specific warnings
            regarding the potential adverse health effects of smokeless
            tobacco products.  See S 4402.
                                
            14.  The specific texts of the alternative warnings, all
            preceded by the word "WARNING," read:
                      THIS PRODUCT MAY CAUSE MOUTH CANCER.
                      THIS PRODUCT MAY CAUSE GUM DISEASE AND
                      TOOTH LOSS.
                                        -18-
                                         18

                      Congress included in the Smokeless Tobacco Act an
            express preemption provision which states, in pertinent part:
                           No statement relating to the use
                           of smokeless tobacco products
                           and health, other than the
                           statements required by [this
                           act], shall be required by any
                           State or local statute or
                           regulation to be included on any
                           package or in any advertisement
                           . . . of a smokeless tobacco
                           product.
            15 U.S.C. S 4406(b). Unlike the FCLAA, the Smokeless Tobacco
            Act contains a "savings clause," which provides: "Nothing in
            this chapter shall relieve any person from liability at common
            law or under State statutory law to any other person." 15
            U.S.C. S 4406(c).  
                      The Smokeless Tobacco Act similarly provides for
            anonymous and aggregate ingredient reporting to the Secretary
                                
                      THIS PRODUCT IS NOT A SAFE ALTERNATIVE TO
                      CIGARETTES.
            15 U.S.C. S 4402(a)(1).
            15.  Additionally, the Smokeless Tobacco Act specifically
            precludes any   federal  
                                     agency from requiring any such
            statements.  See 15 U.S.C. S 4406(a).
            16.  Senate Report 209 explains that "the Committee [on Labor
            and Human Resources" wants to emphasize that by including
            provisions in [the Act] which require health warnings on
            packages and advertisements for smokeless tobacco products, and
            by preempting State and local laws requiring additional health
            warnings, it does not intend to preempt a State's ability to
            control the promotion or advertising of tobacco products and
            does not intend to preempt product liability suits in State or
            Federal courts based on failure to warn." S. Rep. No. 99-209,
            at 14, 1986 U.S.C.C.A.N. at 13.
                                        -19-
                                         19

            of Health and Human Services. S 4403(a).   Unlike the FCLAA,
            however, the Smokeless Tobacco Act also requires smokeless
            tobacco manufacturers to specify the nicotine quantity
            contained in each product.  Id. The statute's provisions for
            the Secretary's handling of the information are essentially
            identical to those in the FCLAA, except for the absence of a
            cross reference to 18 U.S.C. S 1905, which criminalizes
            unauthorized disclosure of confidential information.  Compare
            15 U.S.C. S 1335(b)(2)(A) with 15 U.S.C. S 4403(b)(2). The
            statute also requires the Secretary to transmit informative and
            advisory reports to Congress.  See 15 U.S.C. S 4407.
            C.  Preemption Principles
                      Having reviewed the federal and state statutes at
            issue in this case, we now consider the preemption principles
            that control our analysis of the question whether federal law
            either explicitly or impliedly preempts the challenged state
            law. We begin by noting that the health and safety of each
            state's citizens "are primarily, and historically, matters of
            local concern."   Medtronic v.  Lohr, 116 S. Ct. 2240, 2245
            (1996). Accordingly, "the States traditionally have had great
            latitude under their police powers to legislate as to the
                                
            17.  According to the Senate Report, the Smokeless Act's
            ingredient reporting provision is "very similar" to that in the
            CSEA and "is included to further the accumulation of knowledge
            about the health risks of smokeless tobacco use, particularly
            the possible hazards of substances added to tobacco to enhance
            flavor and for other purposes." S. Rep. No. 99-209, at 14,
            1986 U.S.C.C.A.N. at 13.
                                        -20-
                                         20

            protection of the lives, limbs, health, comfort and quiet of
            all persons."  Id. (internal quotation marks, citations, and
            alterations omitted). The Massachusetts Disclosure Act
            comfortably falls within the "health and safety" realm of
            traditional state police powers.       Cf.  Wisconsin  Public
            Intervenor v. Mortier, 501 U.S. 597, 605 (1991) (indicating
            that regulation of hazardous pesticides are matters of the
            states' "historic police powers"); Tart v. Massachusetts, 949
            F.2d 490, 501 (1st Cir. 1991) (confirming state's "police
            power" to regulate the transshipment of raw fish).
                      Nevertheless, Article VI of the United States
            Constitution provides that federal law "shall be the supreme
            Law of the Land; . . . any Thing in the Constitution or Laws of
            any State to the Contrary notwithstanding." U.S. Const. Art.
            VI, cl. 2. As a result, "any state law, however clearly within
            a State's acknowledged power, which interferes with or is
            contrary to federal law, must yield."  Gade v. National Solid
            Wastes Mgmt. Ass'n
                             , 505 U.S. 88, 108 (1992) (internal quotation
            marks and citations omitted). Thus, in this case, we must
            determine whether the Disclosure Act sufficiently interferes
            with, and therefore must yield either to the FCLAA or the
            Smokeless Tobacco Act, or both.
                      In any preemption analysis, "[t]he purpose of
            Congress is the ultimate touchstone."  Ingersoll-Rand 
                                                                  Co. v.
            McClendon, 498 U.S. 133, 138 (1990) (internal quotation marks
                                        -21-
                                         21

            and citations omitted). The Supreme Court recently framed the
            crucial inquiry as follows: "Did Congress, in enacting the
            Federal Statute, intend to exercise its constitutionally
            delegated authority to set aside the laws of a State?" 
                                                                  Barnett
            Bank v. Nelson, 116 S. Ct. 1103, 1107 (1996). To discern
            Congress' intent, "we examine the explicit statutory language
            and the structure and purpose of the statute." Ingersoll-Rand
            Co., 498 U.S. at 138.
                      One method by which Congress may evince preemptive
            intent is through explicit preemption language.  See Jones v.
            Rath Packing Co.
                           , 430 U.S. 519, 525 (1977). Although Congress
            need not employ express preemption language to communicate such
            intent, 
                   see 
                       International Paper Co.
                                               v. 
                                                 Ouellette, 479 U.S. 481,
            492 (1987), when Congress so chooses, our task in divining its
            intent with respect to the issue at hand may be "an easy one,"
            English v. General Elec. Co., 496 U.S. 72, 79 (1990).
                      "More often, explicit pre-emption language does not
            appear, or does not directly answer the question. In that
            event, courts must consider whether the federal statute's
            'structure and purpose,' or nonspecific statutory language,
            nonetheless reveal a clear, but implicit, pre-emptive intent."
            Barnett Bank
                       , 116 S. Ct. 1108 (quoting 
                                                 Jones, 430 U.S. at 525).
            Thus, for example, state law is impliedly preempted to the
            extent it "actually conflicts" with federal law.          See
            Cipollone, 505 U.S. at 516. Actual conflict occurs where
                                        -22-
                                         22

            compliance with both state and federal law is a "physical
            impossibility," Florida Lime &amp; Avocado Growers, Inc. v. Paul,
            373 U.S. 132, 143 (1963), or where state law "stands as an
            obstacle to the accomplishment and execution of the full
            purposes and objectives of Congress," 
                                                 Hines v. 
                                                          Davidowitz, 312
            U.S. 52, 67 (1941). Additionally, the pervasiveness of a
            federal scheme, the dominance of the federal interest, or the
            federal goals and obligations may reasonably permit an
            inference that Congress intended a federal law to "occupy a
            field" of commerce exclusively, disallowing concurrent state
            operation or supplementation even where the state law does not
            otherwise "conflict" with federal law.  See Rice v. Santa 
                                                                       Fe
            Elevator Corp., 331 U.S. 218, 230 (1947).
                      Finally, there exists an assumption that federal law
            does not supersede a state's historic police powers "'unless
            that [is] the clear and manifest purpose of Congress.'"
            Cipollone, 505 U.S. at 516 (quoting 
                                              Rice, 331 U.S. at 230); 
                                                                      see
            Hillsborough 
                         County v. Automated 
                                             Medical 
                                                     Labs, 471 U.S. 707,
                                
            18.  The preemption framework described, while providing a
            useful backdrop for our analysis, does not reflect "rigidly
            distinct" preemption categories. English, 496 U.S. at 79 n.5.
            For example, "field pre-emption may be understood as a species
            of conflict pre-emption: A state law that falls within a pre-
            empted field conflicts with Congress' intent (either express or
            plainly implied) to exclude state regulation."  Id.  See also
            Hines, 312 U.S. at 67 (stating that "none of these expressions
            provides an infallible constitutional test or an exclusive
            constitutional yardstick");  Palmer, 825 F.2d 620, 625-26
            (describing preemption labels as "[not] necessarily helpful"
            and looking to Congress' intent and the effect of state law on
            the federal scheme).
                                        -23-
                                         23

            715 (1985) (noting "presumption that state or local regulation
            of matters related to health and safety is not invalidated
            under the Supremacy Clause");   see  also Buono v.   NYSA-ILA
            Medical 
                    &amp; 
                      Clinical 
                               Svcs. 
                                     Fund, 117 S. Ct. 1747, 1751 (1997).
            The "health and safety" presumption applies in both express and
            implied preemption analyses.    See  Greenwood  
                                                           Trust  
                                                                  Co. v.
            Commonwealth, 971 F.2d 818, 823 (1st Cir. 1992) ("Even federal
            statutes that contain express preemption clauses must be viewed
            through the prism of [the] assumption."); 
                                                    see 
                                                        also 
                                                             Vango Media,
            Inc. v. 
                   City of New York
                                   , 34 F.3d 68, 72 (2d Cir. 1994) (noting
            that presumption applies "[w]hether preemption under the
            Supremacy Clause be explicit, or implied under field
            preemption, or under conflict preemption") (involving
            preemptive effect of FCLAA over city ordinance respecting
            tobacco-product advertising).  The Disclosure Act, being an
                                
            19.  In 
                   Cipollone, a majority of the Supreme Court employed the
            presumption in analyzing and construing the 1965 Act's express
            preemption provision.   See 505 U.S. at 518. In    Wilson v.
            Bradlees of New Eng., 96 F.3d 552, 557 (1st Cir. 1996), cert.
            denied, 117 S. Ct. 1083 (1997), however, we questioned the
            force of the presumption "in the construction of express
            preemption clauses" in view of the Justices' apparently
            differing opinions on the subject in its post-      Cipollone
            decision, Medtronic v.  Lohr.   Compare 116 S. Ct. at 2250
            (plurality confirming the presumption as "consistent with both
            federalism concerns and the historic primacy of state
            regulation of matters of health and safety"); 
                                                         with 
                                                              id. at 2263
            (four Justices, concurring in part and dissenting in part,
            employing an analysis suggesting that normal statutory
            construction principles apply when construing express
            preemption clause). Just last Term, however, the Supreme Court
            reaffirmed the applicability of the presumption in interpreting
            even an expansive preemption clause.    See California 
                                                                    Labor
            Stds. Enforcement v. Dillingham Constr., 117 S. Ct. 832, 838,
                                        -24-
                                         24

            exercise of the Commonwealth's police powers to protect the
            health and safety of her citizens, benefits from the
            presumption against preemption.
                      While these principles are readily enough stated,
            their application in practice can be rather difficult because
            each preemption scenario necessarily involves a unique
            intersection of federal and state law. See 
                                                       Hines, 312 U.S. at
            67 (explaining that, with respect to preemption analysis, there
            is no "rigid formula or rule which can be used as a universal
            pattern to determine the meaning and purpose of every act of
            Congress"). Thus, our task requires us to scrutinize the
            relevant statutory language, in light of Congress' evident
            purpose and pertinent case law, to determine whether Congress
            intended to preempt state laws such as the Disclosure Act.
                                         IV.
                                      Analysis
            A.  Express Preemption
                      Because Congress included express preemption language
            in both the FCLAA and the Smokeless Tobacco Act, "our initial
            concern is with express preemption and with the reach of the
            clause[s] in question." Wilson v. 
                                              Bradlees of New Eng., Inc.
                                                                        ,
            96 F.3d 552, 554 (1st Cir. 1996), 
                                            cert. 
                                                  denied, 117 S. Ct. 1083
            (1997). In this analysis, we compare the Disclosure Act with
                                
            842 (1997) (unanimous decision) (applying presumption in
            interpretation of broad preemption language in the Employee
            Retirement Income Security Act of 1974).
                                        -25-
                                         25

            the language of the preemption clauses and cases interpreting
            it to determine whether the state law falls within the intended
            preemptive scope.  See Grenier, 96 F.3d at 562. We discuss
            each statute in turn.
                      1.  FCLAA
                      Because the Disclosure Act does not require a
            "statement relating to smoking and health . . .       on  
                                                                      any
            cigarette 
                      package," 15 U.S.C. S 1334(a) (emphasis added), we
            are concerned only with S 1334(b), which provides:
                      No requirement or prohibition based on
                      smoking and health shall be imposed under
                      State law with respect to the advertising
                      or promotion of any cigarettes the
                      packages of which are labeled in
                      conformity with the provisions of this
                      chapter.
            15 U.S.C. S 1334(b).
                           a.  Cipollone
                      We begin with    Cipollone, which concerned the
            viability of state common-law damages actions against cigarette
            manufacturers for injuries stemming from the lung-cancer death
            of Rose Cipollone.    See 505 U.S. 504 (1992). The Court
            analyzed the statutory preemption language of both the 1965 and
            1969 Acts, but because the plaintiffs' claims arose before
            1984, the Court did not consider the CSEA's potential effect on
            those claims.  See id. at 508. In the Court's mixed ruling,
            Justice Stevens' opinion spoke for a majority of the Court in
            certain sections, but largely represented the views of only a
                                        -26-
                                         26

            plurality of the Court. The ruling also produced two separate
            opinions concurring in part and dissenting in part.
            Principally, the Justices disagreed over whether or not state
            common-law damages actions, as opposed to positive enactments
            by state legislatures or administrative bodies, fell within the
            scope of the express preemption provisions in the 1965 and 1969
            Acts. While a majority of the Court held that the 1965 Act did
            not preempt state common-law damages actions, see  Cipollone,
            505 U.S. at 518-19, a plurality found that the 1969 Act's
            "broader" preemption language did encompass some common law
            claims, see id. at 520-21.
                      To determine whether or not a particular common law
            claim fell within the express preemption clause, the plurality
            formulated the following "central inquiry": "we ask whether
            the legal duty that is the predicate of the common-law damages
            action constitutes a 'requirement or prohibition based on
            smoking and health . . . imposed under State law with respect
            to . . . advertising and promotion,' giving that clause a fair
            but narrow reading." Id. at 524. According to the plurality,
                                
            20.  We acknowledge that the  Cipollone plurality's "narrow"
            reading of the preemption provision is not without disagreement
            by other members of the Court.  See 505 U.S. at 544 (Scalia,
            J., concurring in part, dissenting in part) (stating that
            preemption analysis requires the Court "to interpret Congress's
            decrees of pre-emption neither narrowly nor broadly, but in
            accordance with their apparent meaning"); 
                                                     see 
                                                         also 
                                                              id. at 545,
            548 (Scalia, J., concurring in part, dissenting in part)
            (explaining that, given the express preemption provision, "our
            responsibility is to apply to the text ordinary principles of
            statutory construction. . . . When [the ordinary meaning of the
                                        -27-
                                         27

            "each phrase within that clause limits the universe of
            common-law claims pre-empted by the statute." Id. In  Lohr, a
            Court majority approved a similar approach.  See Lohr, 116 S.
            Ct. at 2257 (parsing language in express preemption clause to
            determine federal statute's preemptive scope);   id. at 2258
            (looking to "[t]he legal duty that is the predicate for
            [plaintiff's common-law state damages claim]" to determine
            whether or not it was preempted by federal requirements).
                      On this basis, we apply a modified version of the
            test in this case and ask whether or not the "predicate legal
            duty" created by the Disclosure Act constitutes a (1) a
            "requirement or prohibition . . . imposed under State law," (2)
            "based on smoking and health," (3) "with respect to the
            advertising or promotion of any [properly labeled] cigarettes."
            S 1334(b).
                                
            statute's language] suggests that the pre-emption provision was
            intended to sweep broadly, our construction must sweep broadly
            as well. . . . And when it bespeaks a narrow scope of
            pre-emption, so must our judgment." (citation omitted));  cf.
            Laurence H. Tribe, American Constitutional Law S 6-29, p. 510
            (2d ed.) (1988) (indicating that preemption analysis should be
            approached as "a matter of statutory construction rather than
            free-form judicial policymaking").
            21.  It is undisputed that the cigarette manufacturers'
            cigarette packages are properly labeled under the FCLAA.
                                        -28-
                                         28

                      b.  Application
                           (1) " Requirement or prohibition . . . imposed
                           under State law."
                      Although members of the  Cipollone Court disagreed
            over whether a state common-law damages action could constitute
            a "requirement" under S 1334(b), the Court unanimously agreed
            that "positive enactments" are state-imposed "requirement[s] or
            prohibition[s]" within the meaning of that clause.   See 505
            U.S. at 521 (plurality opinion); 505 U.S. at 525 (Blackmun, J.,
            concurring in part, dissenting in part); 505 U.S. at 548
            (Scalia, J., concurring in part, dissenting in part). The
            Disclosure Act, being a positive enactment by the Massachusetts
            state legislature, therefore constitutes a state-imposed
            "requirement" that falls within the universe of state action
            potentially preempted by the S 1334(b).
                           (2) " Based on Smoking and Health"
                      We think it clear that the obligations imposed by the
            Disclosure Act are "based on smoking and health," and the
            Commonwealth does not dispute this position. The law's stated
            purpose, "[f]or the purpose of protecting the public health,"
                                
            22.  The Disclosure Act constitutes a "requirement" because
            unless tobacco product manufacturers comply with its reporting
            provisions, they must forgo selling their products in
            Massachusetts.  Cf. Vango Media, Inc. v. City of New York, 34
            F.3d 68, 72 (2d Cir. 1994) (finding city ordinance pertaining
            to tobacco product advertisements "plainly is a 'requirement'"
            within the meaning of S 1334(b) because absent compliance with
            the ordinance, plaintiff would have to forgo advertising
            display).
                                        -29-
                                         29

            and the accompanying text strongly imply that its anticipated
            effect will be greater public awareness about the additives and
            nicotine in tobacco products and the potential health effects
            of those ingredients. Mass. Gen. Laws ch. 94, S 307B. The
            Disclosure Act, therefore, bears the requisite relationship to
            "smoking and health" within the meaning of S 1334(b).     See
            Vango 
                  Media, 34 F.3d at 73 (finding city ordinance requiring
            display of public health messages about health risks of smoking
            was "based on smoking and health" because both its purpose and
            effect centered on such risks); 
                                          Lacey v. 
                                                   Lorillard Tobacco Co.
                                                                        ,
            956 F. Supp. 956, 962 (N.D. Ala. 1997) (stating that a "list of
            ingredients in cigarettes would most likely be material only as
            it related to the health of a plaintiff"); Cf. Griesenbeck v.
            American 
                     Tobacco 
                             Co., 897 F. Supp. 815, 823 (D.N.J. 1995)
            (finding that "threat of self-immolation arising from the
            negligent care of one's cigarette is a 'health risk'" bearing
            the requisite relationship to smoking and health).
                      Courts have found the requisite link to smoking and
            health lacking where the predicate duty was "a more general
            obligation," for example, "the duty not to deceive," 
                                                               Cipollone,
            505 U.S. at 528-29 (plurality), the "duty not to conspire to
            commit fraud," id. at 530 (plurality), and the duty "to not
            engage in unfair competition by advertising illegal conduct or
            encouraging others to violate the law,"     Mangini v.   R.J.
            Reynolds 
                     Tobacco 
                             Co., 875 P.2d 73, 80 (Cal. 1994) (involving
                                        -30-
                                         30

            claim that cigarette manufacturer's "Old Joe Camel advertising
            campaign targets minors for the purpose of inducing and
            increasing their illegal purchases of cigarettes"). Cf. 
                                                                    Lohr,
            116 S. Ct. at 2258 (finding that plaintiffs' negligent
            manufacturing claim was predicated on the "general duty of
            every manufacturer to use due care to avoid foreseeable dangers
            in its products" and thus, the state common-law requirements
            were not "with respect to" medical devices).
                      Here, the Commonwealth does not argue that the
            Disclosure Act imposes an obligation so general as to take it
            out of the smoking-and-health nexus of S 1334(b). While the
            argument could be made that the Disclosure Act predicates its
            obligations upon the general duty to follow state statutory
            reporting requirements rather than state-considerations that
            are "based on smoking and health," we think such an argument
            impermissibly raises the level of generality of the inquiry.
            The logical extension of this argument would be that all
            obligations stemming from state positive-enactments are
            predicated on the "general duty" to "abide by state law," thus
            bringing every such requirement outside the scope of the
            preemption clause even if it squarely involved otherwise
            preempted matters.  Cf. Cipollone, 505 U.S. at 543 (Blackmun,
            J., concurring in part, dissenting in part) (criticizing
            plurality's "frequent shift in the level of generality at which
            it examines the individual claims").
                                        -31-
                                         31

                           (3) "  With  
                                        Respect  
                                                 to  
                                                     the  
                                                          Advertising  
                                                                       or
                           Promotion of Any Cigarettes"
                      Having found that the Disclosure Act is a
            "requirement or prohibition based on smoking and health . . .
            imposed under State law," we turn to the main dispute
            underlying our express preemption analysis: whether or not the
            obligations imposed under the Disclosure Act are "with respect
            to the advertising or promotion of any cigarettes" within the
            meaning of S 1334(b). At first glance, the Disclosure Act's
            reporting duties seem entirely unrelated to tobacco industry
            advertising and promotion. Certainly, as the district court
            found, the compelled furnishing of additive and nicotine-yield
            lists to state authorities does not itself constitute
            "advertising or promotion."     Although the cigarette
                                
            23.  In reviewing the FCLAA as a whole, see Crandon v. United
            States, 494 U.S. 152, 158 (1990), we observe that the specific
            references to the words "advertising," "advertisement," and the
            phrase "advertising or promotion," in context, suggest an
            interpretation of those concepts significantly more traditional
            than furnishing ingredient and nicotine-yield reports to a
            state agency.     See,  e.g., S 1331(1) (referring to the
            "inclusion of warning notices on each package . . . and 
                                                                  in each
            advertisement of cigarettes" (emphasis added)); S 1333(a)(2)
            ("It shall be unlawful for any manufacturer . . . of cigarettes
            to advertise or cause to be advertised . . . any cigarette
            unless the advertising bears [a required label]") (emphasis
            added); S 1333(a)(3) (involving similar requirement for outdoor
            billboard advertisements); S 1335 (making it illegal for
            manufacturers "to advertise" on radio and television); S 1336
            (acknowledging the Federal Trade Commission's authority in the
            area of unfair practices "in the advertising of cigarettes")
            (emphasis added); S 1337 (requiring the FTC to transmit annual
            reports to Congress "concerning . . . current practices and
            methods of "cigarette  advertising 
                                               and 
                                                   promotion") (emphasis
            added).
                                        -32-
                                         32

            manufacturers do not seriously dispute this conclusion, they
            submit that the Disclosure Act's requirements are "with respect
            to" advertising and promotion within the meaning of S 1334(b).
                        The cigarette manufacturers theorize that the
            FCLAA, through its mandated warning labels and express
            preemption language, exclusively delineates the necessary and
            sufficient health information that cigarette manufacturers may
            be compelled to communicate to the public. They contend that
            section 1334(b), therefore, in addition to preempting
            requirements to change cigarette labels or advertisements,
            prohibits any additional requirement to communicate to the
            public about smoking and health. The manufacturers reason that
            the Disclosure Act, although styled as an agency reporting
            requirement, essentially compels them to communicate additional
            smoking and health information to the public because the health
            department will make the information publicly available. They
            assert that S 1334(b) would be rendered meaningless if the
            Commonwealth may accomplish indirectly what it may not
            accomplish directly by using the state agency "as a conduit"
            for the manufacturers' compelled communication. In short, they
            claim that the Disclosure Act impermissibly requires them to
            participate in what amounts to a public service advertising
            campaign intended to supplement the federally mandated
            warnings.
                                        -33-
                                         33

                      In  Cipollone, two of the Court's opinions
            specifically analyzed the phrase "with respect to . . .
            advertising and promotion": Justice Stevens' four-vote
            plurality opinion, which interpreted the phrase narrowly, and
            Justice Scalia's opinion concurring in part and dissenting in
            part, in which Justice Thomas joined, which interpreted the
            phrase more broadly. We note initially that the six Justices
            represented by these two opinions apparently agreed that the
            preemption clause reached plaintiffs' failure-to-warn claims,
            at least insofar as they required proof that the manufacturers'
            "post-1969 advertising or promotions should have included
            additional, or more clearly stated, warnings." 505 U.S. at 524
            (plurality); see id. at 554 (Scalia, J., concurring in part,
            dissenting in part);   see  also  Palmer, 825 F.2d at 627
            (explaining that successful failure-to-warn claim effectively
            compels manufacturers to alter warning labels).
                      The four-member plurality further found, however,
            that the preemption clause did not bar "[failure-to-warn]
            claims that rely solely on [the cigarette manufacturers']
            testing or research practices or other actions  unrelated 
                                                                       to
            advertising  
                        or  
                            promotion."   Cipollone 505 U.S. at 524-25
            (emphasis added). Moreover, under the plurality's reasoning,
                                
            24.  Justice Blackmun's concurring and dissenting opinion,
            joined by two other Justices, expressed the view that the 1969
            Act's preemption clause did not reach state common law claims
            at all. Thus, these three Justices expressed no view on the
            meaning of the phrase at issue here.
                                        -34-
                                         34

            fraudulent misrepresentation claims survived "insofar as those
            claims rely on a state-law duty to disclose such facts 
                                                                  through
            channels of communication other than advertising or promotion
                                                                       ."
            Id. at 528 (emphasis added). Significantly, the plurality
            offered the following by way of illustration: "Thus, for
            example, if state law obliged respondents to disclose material
            facts about smoking and health  to 
                                               an 
                                                  administrative 
                                                                  agency,
            [sec. 1334(b)] would not pre-empt a state-law claim based on a
            failure to fulfill that obligation."  Id. (emphasis added).
                      Under the plurality's reasoning, there appears to be
            little doubt that the Disclosure Act is not "with respect to"
            advertising or promotion because the manufacturers do not
            satisfy their obligation to file annual reports to the state
            health department "through" an advertising or promotion
            channel.   See 505 U.S. at 528 (plurality). The agency's
            potential release of the information to the public would seem
            to raise no concern with the plurality, which was not otherwise
            troubled about compelled communication to the public through
            alternative, non-advertising, non-promotional channels (i.e.,
            in duties underlying certain surviving failure to warn and
            fraudulent misrepresentation claims), for the purposes of the
            language at issue. Thus, we believe that the plurality's
            reasoning militates towards the Commonwealth's position.
                      Justice Scalia's opinion, concurring in part and
            dissenting in part, disagreed with the plurality's conclusion
                                        -35-
                                         35

            that a state law claim based on the failure to warn consumers
            "'through channels of communication other than advertising or
            promotion'" would not come within S 1334(b)'s preemptive scope.
            Id. at 554 (Scalia, J., concurring in part, dissenting in part)
            (quoting plurality opinion, id. at 528). While acknowledging
            that the FCLAA clearly does not preempt claims unrelated to
            industry advertising and promotion, Justice Scalia reasoned
            that it preempts "claims based on duties that can be complied
            with by taking action    either within the advertising and
            promotional realm 
                             or elsewhere
                                         ."  Id. at 554. Thus, according
            to Justice Scalia, although a product warning could be
            communicated in many ways, S 1334(b) would preempt the duty as
            a whole because it could be satisfied through advertising or
            promotion.  See id. at 554-55.
                      Justice Scalia's opinion also intimated, however,
            that a hypothetical law requiring disclosure of product health-
            hazards to a state public-health agency would bear "no
            relation" to industry advertising and promotion.  Id. at 554.
            He further speculated that such a law "would seem to survive"
            a proposed "practical compulsion" test to determine the
                                
            25.  Noting that manufacturers normally communicate required
            product warnings through advertising and promotion, Justice
            Scalia found it "implausible that Congress meant to save
            cigarette companies from being compelled to convey such data to
            consumers through that means, only to allow them to be
            compelled to do so through means more onerous still."
            Cipollone, 505 U.S. at 555 (Scalia, J., concurring in part,
            dissenting in part).
                                        -36-
                                         36

            viability of a state law, which he phrased as: "whether the law
            practically compels the manufacturers to engage in behavior
            that Congress has barred the States from prescribing directly."
            Id. at 555 (Scalia, J., concurring in part, dissenting in
            part). Justice Scalia's opinion suggests that because the
            hypothetical law's requirements could not possibly be satisfied
            through advertising and promotional efforts, the law would not
            "practically compel" the manufacturers "to relinquish the
            advertising and promotion immunity accorded them by the Act."
            Id. at 555.
                      In this case, of course, we are presented with an
            agency reporting requirement coupled with the probability that
            the information provided will be made public. Although the
            health department will likely publicize the required reports,
            the Disclosure Act does not "practically compel" the
            manufacturers to communicate smoking and health information to
            the public within Justice Scalia's explication because, while
            the communicative action to consumers could alternatively be
            achieved through advertising and promotional efforts, the
            Disclosure Act itself admits of no such alternative to
            compliance. There is no suggestion that the manufacturers
            could somehow comply with the Disclosure Act simply by changing
            their advertising or promotional materials. Moreover, direct
            communication of the additive and nicotine-yield information to
            the public through some other means would not excuse the
                                        -37-
                                         37

            manufacturers' duties under the law. Thus viewed, the
            Disclosure Act would survive even Justice Scalia's more
            expansive, but distinct minority view of the preemption clause.
                      While our 
                               Cipollone-based analysis necessarily draws
            upon the dicta of six Justices who were not presented with an
            actual agency-reporting scheme, much less a scheme that
            contemplates the public release of the information reported, we
            believe that the Justices' observations suggest a qualitative
            difference, for S 1334(b) purposes, between direct
            communication with the public and disclosure to a state agency.
            The fact that public health agencies exist to serve the public,
            and the absence of any secrecy mandates in the      Cipollone
            opinions discussing state agency reporting requirements,
            further suggest that the agency's ultimate use of the
            information does not bear on the question whether such a
            reporting scheme relates to advertising and promotion. In the
            end, we believe that 
                                Cipollone weighs strongly in favor of the
            Commonwealth's position.
                      In the wake of Cipollone, several courts have dealt
            specifically with the question whether a state statute or
            common-law damages action, in various contexts, implicates the
            phrase, "with respect to . . . advertising or promotion."
            S 1334(b). In general, the cases yield a broad interpretation
            of the language at issue. Not surprisingly, therefore, the
            manufacturers rely heavily on select language from them.
                                        -38-
                                         38

            Although none of the cases involves a state-agency reporting
            scheme, we review them to contextualize the manufacturers'
            arguments and to indicate how the cases differ from the instant
            dispute.
                      In 
                        Vango Media, Inc.
                                          v. 
                                             City of New York
                                                            , 34 F.3d 68,
            70 (2d Cir. 1994), the Second Circuit held that the FCLAA
            expressly preempted a city ordinance requiring an advertising
            business to display a minimum of one public health message
            about the dangers of smoking (or the benefits of not smoking)
            for every four tobacco advertisements. The court reasoned that
            the phrase "with respect to" in S 1334(b) is essentially
            synonymous with "relating to," which, in turn, the Supreme
            Court has interpreted broadly.  Id. at 74 (citing definitions
            such as "referring to" or "having a connection with").
            Although the city ordinance did not require changes in the
            content of tobacco advertisements, the court found that it
            impermissibly impacted advertisers and promoters by "impos[ing]
            conditions on their display of cigarette advertisements." Id.
            at 75. The court concluded that the city ordinance directly
            contravened the FCLAA's purpose of avoiding diverse advertising
            regulations and "tread[ed] on the area of tobacco advertising,
            even if . . . only at the edges."  Id. at 74.
                      In this case, the cigarette manufacturers argue that
            Vango Media
                       establishes that the FCLAA preempts any attempt to
            require anyone to provide smoking and health messages to the
                                        -39-
                                         39

            public through  any  
                                media, even media other than industry
            advertisements. They argue that the Disclosure Act surely
            comes within this vast preempted realm. We do not read  Vango
            Media so expansively. In   Vango 
                                             Media, the very display of
            tobacco advertisements invoked the city ordinance requirements,
            thus evincing a direct and substantial connection between the
            ordinance and industry advertising.   See id. at 74-75. The
            Disclosure Act, on the other hand, does not impose conditions
            upon tobacco advertising or promotional decisions, which are
            irrelevant to the Disclosure Act's obligations.
                      Moreover, even assuming (without deciding) that "with
            respect to" is synonymous with "relate to," the Disclosure Act
            does not "relate to" advertising or promotion because it lacks
            the requisite "reference to" or "connection with" the preempted
            realm.  See California 
                                   Labor 
                                         Stds. 
                                               Enforcement v.  Dillingham
            Constr., 117 S. Ct. 832, 837-41 (1997) (analyzing "relate to"
            phrase in express preemption language in Employee Retirement
            Income Security Act of 1974 ("ERISA"));    Buono v.  NYSA-ILA
            Medical 
                    and 
                        Clinical 
                                  Servs. 
                                         Fund, 117 S. Ct. 1747, 1751-52
            (1997) (same). The Disclosure Act does not make "reference to"
            advertising and promotion because it does not "act[]
            immediately and exclusively" upon advertising and promotion,
            and, unlike the ordinance in 
                                        Vango Media
                                                  , the existence of such
            advertising is not "essential to the [state] law's operation."
            Dillingham Constr.
                             , 117 S. Ct. at 838. The Disclosure Act does
                                        -40-
                                         40

            not have a "connection with" advertising and promotion because
            it does not mandate the structure and content of advertising,
            see id. at 839, and, while it may somehow "alter[] the
            incentives" in advertising decision-making, it "does not
            dictate the choices," 
                                 id. at 842. Thus, while the ordinance in
            Vango Media
                       ran afoul of S 1334(b)'s "with respect to" language
            by analogy to the Court's "relate to" jurisprudence, the
            Disclosure Act does not.
                      Several other cases have involved state claims that
            sought to impose liability on tobacco product manufacturers for
            failing to disclose information to consumers through channels
            other than traditional advertising or promotion. A few courts
            have found general allegations in this regard insufficient to
            escape S 1334(b)'s preemptive reach. See 
                                                     Cantley v. 
                                                                Lorillard
            Tobacco 
                    Co., 681 So.2d 1057, 1061 (Ala. 1996) (finding bare
            allegation that cigarette manufacturers concealed material
            facts was "inevitably based upon a state law duty to disclose
            facts through advertising or promotion" because communication
            with consumers normally occurs only through those channels
            (internal quotation marks and citation omitted)); Griesenbeck
            v. American 
                        Tobacco 
                                Co., 897 F. Supp. 815, 823 (D.N.J. 1995)
            (finding that a claim that cigarette manufacturers "should have
            warned [of health risk] . . . somehow, presumably through some
            variety of mass-notification" was preempted because "[a]
            company's attempt to notify its mass market of anything . . .
                                        -41-
                                         41

            is considered 'advertising or promotion' under the general
            usage of those terms"); cf. Grenier, 96 F.3d at 564 (finding
            failure-to-warn claims preempted under Federal Insecticide,
            Fungicide, and Rodenticide Act because plaintiff failed "to set
            forth a coherent specific claim" that was not based on the
            preempted realm of labeling or packaging).
                      In another case, a plaintiff creatively premised her
            failure-to-warn claim on the failure to employ specific "non-
            promotional communications," such as "public service messages,
            seminars on smoking cessation and harmful smoking habits,
            direct mail-outs . . ., public advocacy, and lobbying."
            Sonnenreich v. Philip Morris Inc., 929 F. Supp 416, 418 (S.D.
            Fla. 1996). The court rejected the proffered alternatives,
            reasoning that they "employ the same techniques as a
            traditional advertising or promotional campaign. . . . [and]
            are all undertaken with the effect of promoting and fostering
            a product or an ideology."   Id. at 419. The court reasoned
            that the plaintiff's theory would render the FCLAA
            "meaningless" because it "suggest[ed] that at the same time
            [the tobacco manufacturers] were providing the Congressionally-
            mandated warnings, they were exposing themselves to state law
            tort liability by failing to use 'non-promotional
            communications' to disseminate material essentially duplicative
            of the Surgeon General's warning."  Id. at 418.
                                        -42-
                                         42

                      In yet another case more closely analogous to this
            one, a plaintiff sought an injunction to compel cigarette
            manufacturers to disclose to consumers "the nature, type,
            extent and identity" of all cigarette additives.    Lacey v.
            Lorillard Tobacco Co., 956 F. Supp 956, 958 (N.D. Ala. 1997).
            After reviewing the FCLAA's scheme and obligations, the court
            found the claim preempted because it was "based upon an alleged
            duty . . . to provide to consumers more information regarding
            smoking and health than is required by the [FCLAA],"  id. at
            963, and because its additional disclosure obligations
            "unavoidably attack[ed]" the manufacturers' advertising and
            promotion, id. at 962.
                      Here, we are presented with more than a vague "tell-
            the-consumers-any-way-you-wish" claim. Cipollone, 505 U.S. at
            555 (Scalia, J., concurring in part, dissenting in part).
            Specifically, the Disclosure Act requires that ingredient
            reports be filed with a state agency; the reports themselves
            are plainly outside the realm of advertising or promotion.
            Unlike plaintiff's theory in Sonnenreich, the Disclosure Act
            does not require the manufacturers to produce materials and
            disseminate information to consumers through techniques, such
                                
            26.  The Lacey court acknowledged the  Cipollone plurality's
            suggestion that the FCLAA would not preempt a state law
            requirement to disclose smoking-and-health facts to an
            administrative agency.  See 956 F. Supp at 962. The court
            explained, however, that the law of the pertinent state
            (Alabama) imposed no such obligation.  See id. 
                                        -43-
                                         43

            as seminars or direct mailings, that resemble promotional
            efforts and impel the fostering of a product ideology. Unlike
            the plaintiff's claim in Lacey, the Disclosure Act does not
            impose a duty upon manufacturers to provide additional smoking
            and health information directly to the public.
                      There would arguably appear to be little difference
            between requiring manufacturers to disseminate ingredient
            information directly to the public and requiring them to file
            such information with a state agency, which, in turn, will make
            the information publicly available. Nevertheless, there is a
            difference, and we are unpersuaded by the manufacturers'
            argument that the difference is not substantively important.
            Moreover, we find doubtful their expansive interpretation of
            the with-respect-to-advertising-and-promotion condition.
                      While we need not decide the issue now, we are
            skeptical of the manufacturers' sweeping proposition that the
            FCLAA prescribes the exclusive means by which they may be
            compelled to communicate health information directly to the
            public. On this point, we find informative the      Cipollone
            plurality's preservation of some claims that were based, in
            part, on the duty to communicate smoking-and-health information
            to the public.    See 505 U.S. at 524-25 (failure-to-warn
            claims); 
                    id. at 528 (fraudulent misrepresentation claims). The
            survival of such claims undermines the premise that the FCLAA
            delineates the exclusive scope of consumer-communication
                                        -44-
                                         44

            duties, and furthermore suggests the very existence of a subset
            of such requirements that are wholly unrelated to advertising
            and promotion. We also find informative the legislative
            history's repeated reference to the "narrow" and "limited"
            nature of the preemption provision and declaration that the
            provision "is limited entirely to State or local requirements
            or prohibitions in the advertising of cigarettes." S. Rep. 91-
            566, 1970 U.S.C.C.A.N. at 2663.
                      Our skepticism aside, significantly, the Disclosure
            Act does not require the manufacturers to communicate directly
            with consumers. Of course, a quintessential state requirement
            "with respect to . . . advertising and promotion" would be a
            law mandating changes or additions to the content of cigarette
            advertisements. One step removed from such a law would be a
            requirement that manufacturers mass-communicate additional
            warnings or other smoking-and-health information directly to
            consumers through channels other than advertising or promotion.
            At this point, the argument in favor of preemption begins to
            weaken given the 
                            Cipollone plurality's seemingly narrow concern
            with requirements specifically involving advertising and
            promotional channels.  See 505 U.S. at 524-25, 528. Further
            removed yet would be a requirement to disclose such information
            to some entity other than the consuming public. While one can
            imagine subsequent intermediate steps, at some point we reach
            the agency reporting scheme before us.
                                        -45-
                                         45

                      We think that the agency-reporting scheme prescribed
            under the Disclosure Act is insufficiently related to the
            advertising and promotion realm to bring the state law within
            S 1334(b)'s preemptive scope. As noted above, the reports
            required under the Disclosure Act do not themselves constitute
            or resemble promotional material. Once the manufacturers file
            the reports with the state public health agency, their
            communicative obligation ceases. They will not be required to
            disseminate further the reported information, which becomes
            public (if at all), solely through agency action. Thus, unlike
            an obligation to advise consumers 
                                             directly of any information,
            which may compel the manufacturers to engage in activity
            resembling advertising and promotional efforts, the Disclosure
            Act requires no such exertion. In fact, the law separates the
            normal source of product advertising and promotion, the tobacco
            industry, from any direct communicative action to the public.
            That the information contained in the report may eventually
            become widely disseminated does not transform the
            manufacturer's initial reporting obligation into an advertising
            or promotional activity. In our view, an implied
            transformation of this sort would distort the language of
            S 1334(b) beyond Congress' intent. In short, the line between
            "with respect to" and "no relation to" advertising and
            promotion must be crossed at some point, and although we need
                                        -46-
                                         46

            not pinpoint that exact location now, we think it has been
            crossed here.
                      Moreover, we disagree with the manufacturers'
            argument that the Disclosure Act meets this condition because
            it reflects the Commonwealth's "impermissible judgment" that
            the federally-mandated health warnings are inadequate and thus
            constitutes an attack upon those warnings. The      Cipollone
            plurality specifically rejected the proposition that S 1334(b)
            broadly preempts any claim that inevitably questions the
            suitability of the manufacturers' advertising and promotion
            activities. See 505 U.S. at 525 (discussing breach-of-express-
            warranty claim). As the plurality stated: "The appropriate
            inquiry is not whether a claim challenges the 'propriety' of
            advertising and promotion, but whether the claim would require
            the imposition under state law of a requirement or prohibition
            based on smoking and health with respect to advertising or
            promotion."  Cipollone, 505 U.S. at 525.   This observation
            indicates that the relevant inquiry focuses not upon any
            relation between advertising and the 
                                                motivation behind a state
                                
            27.  See 
                    Penn Advertising
                                     v. 
                                        Mayor of Baltimore
                                                          , 63 F.3d 1318,
            1320-21, 1324 (4th Cir. 1995) (holding that FCLAA did not
            preempt city ordinance prohibiting placement of certain forms
            of cigarette advertisements in publicly visible places because
            the ordinance merely limited the location, and did not address
            the content, of cigarette advertisements), 
                                                     vacated and remanded
            on other grounds
                           , 116 S. Ct. 2575 (1996), 
                                                     modified by
                                                                 101 F.3d
            332 (4th Cir. 1996), 
                                cert. 
                                      denied, 117 S. Ct. 1569 (1997); 
                                                                      see
            also id. at 1324 (noting Cipollone plurality's declination to
            focus on whether a claim contests the "propriety" of
            advertising or promotion).
                                        -47-
                                         47

            law, but upon the law itself and any connection it might have
            with advertising activities.  See Associated 
                                                         Indus. v.  Snow,
            898 F.2d 274, 279 (1st. Cir. 1990) ("Rather than attempt to
            divine the Massachusetts Legislature's intent in enacting its
            . . . legislation, we look instead to the effect of the
            regulatory scheme." (footnote omitted)) (involving express
            preemption analysis). Thus, the mere suggestion that state
            lawmakers sought passage of the Disclosure Act in part because
            of their discontent with federal regulatory efforts does not
            affect our preemption analysis.
                      We find, therefore, that the reach of the FCLAA's
            express preemption clause, S 1334(b), does not preclude
            enforcement of the Disclosure Act. We reach this conclusion
            even assuming that underlying the state law is discontent with
            the federally mandated warnings and the desire to communicate
            the additive and nicotine-yield information to the public.
            Looking to the actual effect of the state law, the Disclosure
            Act does not require alterations in the industry's advertising
            and promotional activities, or impose any duty to disclose
            information through those channels. The state law's
            obligations are neither triggered by advertising decisions, nor
            could they be fulfilled by altering cigarette labels or
            advertisements. The law does not direct the manufacturers to
            employ any mass-marketing or other techniques even remotely
            resembling advertising and promotion. In the end, we think
                                        -48-
                                         48

            that had Congress intended to prohibit the public disclosure of
            smoking and health information that, at some point, the
            tobacco-product manufacturers had disgorged under state law,
            the limited phrase "with respect to advertising and promotion"
            would be an odd vehicle to reach this end. Thus, we find the
            explicit preemption language and legislative history
            insufficient to "clear[ly] and manifest[ly]" overcome the
            presumption against preemption of a state's traditional powers
            to legislate for the health and safety of its citizens.
            Mortier, 510 U.S. at 606; 
                                     see 
                                        Dillingham Constr.
                                                          , 117 S. Ct. at
            842 ("We could not hold pre-empted a state law in an area of
            traditional state regulation based on so tenuous a relation
            without doing grave violence to our presumption that Congress
            intended nothing of the sort.") (construing express preemption
            language).
                      2.  Smokeless Tobacco Act
                      Our inquiry into the scope of the Smokeless Tobacco
            Act's preemption clause is considerably simpler than the
            preceding analysis. The Smokeless Tobacco Act provides that
                      No statement relating to the use of
                      smokeless tobacco products and health,
                      other than the statements required by
                      [this act], shall be required by any State
                                
            28.  The manufacturers do not argue that the 1984 amendments to
            the FCLAA wrought by the CSEA in any manner changed or affected
            the meaning of the express preemption clause, last amended in
            1969. Thus, we do not address the question whether the
            ingredient reporting requirements or other amendments affect
            the express preemption analysis.
                                        -49-
                                         49

                      or local statute or regulation to be
                      included  on  
                                    any  
                                          package or   in  
                                                            any
                      advertisement (unless the advertisement is
                      an outdoor billboard advertisement) of a
                      smokeless tobacco product.]
            15 U.S.C. S 4406(b) (emphasis added).
                      We find dispositive the phrases "
                                                      on any package" and
            "in any advertisement," which differ significantly from the
            broader "with respect to" language in the FCLAA's preemption
            provision.   Cf.  Cipollone, 505 U.S. at 520 (plurality)
            (explaining that the clause, "
                                         with respect to
                                                        . . . advertising
            and promotion," in the 1969 Act was notably broader than its
            predecessor, "
                         in the advertising," in the 1965 Act); 
                                                               id. at 554
            (Scalia, J., concurring in part, dissenting in part)
            (suggesting same). Because the Disclosure Act only requires
            the manufacturers to file certain reports to the Massachusetts
            Department of Public Health, plainly it does not require a
            "statement" of any kind "to be included on any package or in
            any advertisement."     Cf.  id. at 518 (majority opinion)
            (explaining that similar language in 1965 Act "merely
            prohibited . . . particular cautionary statements on cigarette
            labels . . . or in cigarette advertisements"). The Smokeless
            Tobacco Act's express preemption clause, therefore, does not
            invalidate the Disclosure Act.
                                
            29.  For the reasons stated in our FCLAA express preemption
            analysis, we reject the manufacturers' argument that the
            publicizing of the ingredient lists effectively transforms the
            lists into an "advertisement" within the meaning of S 4406(b).
                                        -50-
                                         50

                       We observe that our holding is wholly consistent
            with the Smokeless Tobacco Act's "savings clause" which
            preserves, 
                      inter 
                            alia, state common-law failure to warn claims.
            See 15 U.S.C. S 4406(c); S. Rep. No. 99-209, at 14, 1986
            U.S.C.C.A.N. at 13 (also stating that Smokeless Tobacco Act is
            not intended "to preempt a State's ability to control the
            promotion or advertising of tobacco products"). If claims
            directly attacking the adequacy of package labeling and
            advertising survive the Smokeless Tobacco Act's express
            preemption clause, then the reporting obligations under the
            Disclosure Act surely survive as well.
                      We conclude that neither the FCLAA nor the Smokeless
            Tobacco Act expressly preempts the Massachusetts Disclosure
            Act.
            B.  Implied Preemption
                      1.  A Proper Inquiry?
                      Before we turn to the manufacturers' implied pre-
            emption arguments, we first address the Commonwealth's
            contention that Cipollone precludes any preemption analysis
            beyond the scope of the express preemption clause. In
            Cipollone, the Court held that "the pre-emptive scope of the
            1965 Act and the 1969 Act is governed entirely by the express
            [preemption] language in . . . each Act" and explained that
            "Congress' enactment of a provision defining the pre-emptive
            reach of a statute implies that matters beyond that reach are
                                        -51-
                                         51

            not pre-empted." 505 U.S. at 517. The Court further stated:
            "In this case, the other provisions of the 1965 and 1969 Acts
            offer no cause to look beyond [the express preemption
            provision] of each Act. Therefore, we need only identify the
            domain expressly pre-empted by each of those sections." 
                                                                   Id. at
            517.
                      Subsequent to  Cipollone, the Court clarified the
            appropriate approach to implied preemption issues in cases in
            which express preemption language exists. In     Freightliner
            Corp. v. 
                    Myrick, 115 S. Ct. 1483 (1995), the Court acknowledged
            Cipollone's holding "that the pre-emptive scope of the two
            statutes at issue was governed by the language in each act,"
            id. at 1487, but further explained that "[t]he fact that an
            express definition of the pre-emptive reach of a statute
            'implies' -- i.e., supports a reasonable inference -- that
            Congress did not intend to pre-empt other matters does not mean
            that the express clause entirely forecloses any possibility of
            implied pre-emption," 
                                 id. at 1488. Thus, the Court concluded,
            "[a]t best, Cipollone supports an inference that an express
            pre-emption clause forecloses implied pre-emption; it does not
            establish a rule."  Id. at 1488.
                      In this case, the manufacturers' implied preemption
            arguments are largely based on the ingredient reporting
            provisions added to the FCLAA by the CSEA in 1984, which were
            not at issue in Cipollone.  See 505 U.S. at 508. Thus, the
                                        -52-
                                         52

            Cipollone Court's refusal to look beyond the express preemption
            clauses for the purposes of analysis under the 1965 and  1969
            Acts does not per se foreclose an implied preemption analysis
            based on the 1984 amendments. Thus, while we might be tempted
            to end our preemption analysis here, we feel compelled to
            explore the manufacturers' implied preemption theories.
                      We are bound, however, by the Cipollone majority's
            holding that S 1334(b) governs the preemptive scope of the 1965
            and 1969 Acts. Having found that the Disclosure Act falls
            outside the domain of S 1334(b), we engage in an implied
            preemption analysis only to the extent it relies on the
            amendments wrought by the CSEA in 1984. In other words, we are
            not at liberty to address any implied preemption theories based
            solely on the FCLAA in its 1965 or 1969 versions, independent
            of the CSEA. Moreover, given that a majority of the Court has
            indicated that the FCLAA's express preemption clause implies
            that matters outside its scope are not preempted,         see
            Cipollone, 505 U.S. at 517, it becomes apparent that any
            attempt to surmount the presumption against preemption of the
            state's historic police powers under an implied preemption
            theory faces a considerable obstacle.  See Snow, 898 F.2d at
            282 ("The burden of overcoming th[e] presumption in favor of
            state law is heavy in those cases that rely on implied
            preemption, which rests in turn on inference" (internal
            quotation marks and citations omitted)).
                                        -53-
                                         53

                      2.  Manufacturers' Arguments
                      As detailed above, both the FCLAA and Smokeless
            Tobacco Act direct tobacco-product manufacturers to provide to
            the Secretary of Health and Human Services an annual
            ingredients list which does not identify the manufacturer or
            the brand represented by the list, information which may be
            submitted aggregately by more than one manufacturer through an
            agent.   See 15 U.S.C. SS 1335a(a), 4403(a). Under both
            statutes, the information provided is "treated as a trade
            secret or confidential information," and its unauthorized
            disclosure is forbidden.            See SS 1335a(b)(2)(A),
            4403(b)(2)(A).  The laws further require the Secretary to
            establish written procedures by which the information will be
            safeguarded and specifically mandates that those procedures
            include certain custodial, storing, and access arrangements.
            See SS 1335a(b)(2)(C), 4403(b)(2)(C). The manufacturers
            contend that the Disclosure Act is impliedly preempted in light
            of these provisions combined with the structure and purpose of
            the statutes.
                      The manufacturers do not rely, nor could they rely,
            on the theory that compliance with both the Disclosure Act and
            federal law presents a "physical impossibility."  See Florida
                                
            30.  The FCLAA additionally makes such disclosure a felony by
            explicit reference to 18 U.S.C. S 1905, which criminalizes
            unauthorized disclosure of trade secret or confidential
            information by federal officers or employees.  See 15 U.S.C.
            S 1335a(b)(2)(A).
                                        -54-
                                         54

            Lime &amp; Avocado Growers, Inc.
                                        v. 
                                          Paul, 373 U.S. 132, 143 (1963).
            Rather, they contend that the Disclosure Act impermissibly
            conflicts with the purpose and objectives that underlie the
            federal statutes. They further contend, albeit less
            elaborately, that the state law invades a field of commerce for
            which Congress intended exclusive federal regulation.
                      Specifically, the manufacturers argue that through
            the FCLAA and the Smokeless Tobacco Act, Congress intended to
            establish a careful balance between two national interests: (1)
            educating the public about the use of tobacco products and
            health and (2) limiting commercial burdens on the tobacco
            industry. The ingredient reporting and safeguarding
            provisions, they contend, further these purposes in a unique
            and exclusive manner. They reason that, while the required
            ingredient lists allow Congress, with the assistance of the
            Department of Health and Human Services ("HHS") and its
            research efforts, to determine the continued adequacy of the
            mandated warning labels, nonetheless the information provided
            is kept in strict confidence through elaborate statutory
            protections. These comprehensive provisions, the manufacturers
            claim, limit the impact upon commerce associated with reporting
            and evaluating ingredient information.
                      The manufacturers assert that, by prescribing both an
            anonymous form of ingredient disclosure and strict safekeeping
            of the information provided, Congress intended to avoid
                                        -55-
                                         55

            "unnecessary invasion of company-specific and brand-specific
            trade secret information." They contend that Congress could
            have required full ingredient disclosure on all product labels,
            or, at the other extreme, no disclosure whatever. Instead, it
            chose a specific intermediate position which represents a
            "precisely calibrated balance" that, in Congress' judgment,
            best served the public.
                      The manufacturers further contend that the anonymity
            provided them when submitting the ingredient lists indicates
            that the additional provisions protecting the confidentiality
            of the collected information are not merely matters of
            "custody" or "internal housekeeping." While conceding that the
            federal statutes do not grant the information "trade secret
            status" per se, the manufacturers nonetheless argue that, for
            preemption purposes, the exacting confidentiality provisions
            reflect Congress' concern for the potential loss of commercial
            advantage, which itself is part and parcel of Congress' broader
            intent to protect commerce and the national economy.
                      According to the manufacturers, enforcement of the
            Disclosure Act's obligations to disclose brand-specific and
            company-specific ingredient information, without guarantees of
            confidentiality, would frustrate the purposes of the FCLAA and
            Smokeless Tobacco Act. They contend that the federal statutes'
            intricate information-safekeeping provisions "would be utterly
            pointless" if a state were permitted to make publicly available
                                        -56-
                                         56

            information that the federal government may not even collect,
            much less reveal. Moreover, they claim, it would be "absurd"
            for the HHS Secretary to continue to collect the federally
            prescribed ingredient information when even more precise, brand
            specific information collected pursuant to the Disclosure Act
            would be readily available. Because Congress carefully limited
            the collection and disclosure of cigarette ingredients in
            furtherance of the balance between health education and trade
            protection, they argue, collection and disclosure of the type
            contemplated by the Disclosure Act would "stand[] as an
            obstacle to the accomplishment and execution of the full
            purposes and objectives of Congress." 
                                                 Hines v. 
                                                          Davidowitz, 312
            U.S. 52, 67 (1941). They further assert that the comprehensive
            manner in which Congress dealt with the health concern posed by
            tobacco-product additives shows its intent to obtain uniformity
            in ingredient disclosure requirements, supplanting any
            supplemental state efforts, such as the Disclosure Act, in the
            area.
                      The manufacturers also offer a closely related
            argument: the Disclosure Act intrudes into a "field," albeit a
            narrow one, that Congress intended federal law to occupy
            exclusively. To this end, they assert that the HHS Secretary's
            role to review cigarette ingredients from a health standpoint,
            the stringent confidentiality procedures, and the balance of
            national interests "evince Congress' intent to occupy the field
                                        -57-
                                         57

            of cigarette ingredient reporting, monitoring and review." In
            sum, they argue that the very comprehensiveness, complexity,
            and specificity of the federal reporting provisions evince a
            federal dominance and pervasiveness in ingredient reporting and
            disclosure that allows no room for supplemental state laws such
            as the Disclosure Act. Ultimately, we find the manufacturers'
            arguments unpersuasive.
                      3.  Actual Conflict
                      Topics that warrant congressional legislation
            necessarily entail issues of national concern. See 
                                                               English v.
            General Elec. Co.
                            , 496 U.S. 72, 87 (1990); 
                                                      Hillsborough County
            v. Automated 
                         Medical 
                                  Laboratories, 
                                                Inc., 471 U.S. 707, 719
            (1985). "That cannot mean, however, that every federal statute
            ousts all related state law." 
                                         Hillsborough County
                                                            , 471 U.S. at
            719. Moreover, the mere fact that a subject of federal
            legislation requires an "intricate and complex response[] from
            the Congress" does not necessarily indicate that Congress
            intended its response to be the exclusive means of addressing
            the issue. Id. at 719 (quoting 
                                           Dublino, 413 U.S. at 717); 
                                                                      see
            also 
                Ingersoll-Rand Co.
                                   v. 
                                      McClendon, 498 U.S. 133, 143 (1990).
            Rather, "we must look for special features warranting
            preemption."  Hillsborough County, 471 U.S. at 719 (involving
            field-occupation preemption issues),  quoted in English, 496
            U.S. at 87 (involving conflict preemption issues);        see
            Ingersoll-Rand 
                           Co., 498 U.S. at 144 (finding that exclusive
                                        -58-
                                         58

            federal remedy "is precisely the kind of special feature that
            warrants pre-emption" (internal quotation marks, alterations,
            and citations omitted)). The manufacturers' implied preemption
            arguments essentially identify into two purported "special
            features" in the federal statutes warranting preemption: (1) an
            asserted "balance of national interests" effected by the FCLAA
            and Smokeless Tobacco Act, and (2) the detailed and stringent
            statutory provisions for confidential reporting and protection
            of ingredient information.
                           a.  Balance of National Interests?
                      As indicated above, the FCLAA contains explicit
            language setting forth its policy and purpose:
                      It is the policy of the Congress, and the
                      purpose of this chapter, to establish a
                      comprehensive Federal program to deal with
                      cigarette labeling and advertising with
                      respect to any relationship between
                      smoking and health, whereby --
                           (1) the public may be adequately
                      informed about any adverse health effects
                      of cigarette smoking by inclusion of
                      warning notices on each package of
                      cigarettes; and
                           (2) commerce and the national
                      economy may be (A) protected to the
                      maximum extent consistent with this
                      declared policy and (B) not impeded by
                      diverse, nonuniform, and confusing
                      cigarette labeling and advertising
                      regulations with respect to any
                      relationship between smoking and health.
            15 U.S.C. S 1331.
                                
            31.  Although the Smokeless Tobacco Act does not contain a
            S 1331 counterpart, the smokeless tobacco manufacturers seek to
            avail themselves of arguments related to this section because
                                        -59-
                                         59

                      The manufacturers' implied preemption arguments rely
            heavily on select phrases from S 1331 and on certain language
            in our pre-Cipollone decision, Palmer v. Liggett Group, Inc.,
            in which we held that the FCLAA impliedly preempted state
            common-law causes of action based on failure-to-warn theories.
            See 825 F.2d at 626. In   Palmer, we expansively interpreted
            S 1331 and declared that, in passing the FCLAA, Congress sought
            "to strike a fair, effective balance between . . . two
            competing interests": "health protection (through education)
            and trade protection." Id. at 626. We observed, "Congress ran
            a hard-fought, bitterly partisan battle in striking the
            compromise that became the [FCLAA]. It is inconceivable that
            Congress intended to have that carefully wrought balance of
            national interests superseded by the views of a single state .
            . . ."  Id. We further quoted favorably the Third Circuit's
            assertion in 
                        Cipollone, prior to Supreme Court review, that the
            FCLAA "'presents a carefully drawn balance between the purposes
            of warning the public of the hazards of cigarette smoking and
            protecting the interests of [the] national economy.'"     Id.
            (quoting Cipollone v. Liggett 
                                          Group, 
                                                 Inc., 789 F.2d 181, 187
            (3d Cir. 1986)) (alteration ours). It now appears, however,
                                
            of the similar substantive provisions in the two statutes.
            Because a statute's substantive provisions carry out its
            purpose, they argue, Congress must have intended the same
            polices and purposes to animate the two statutes. For the sake
            of argument, we accept their contention that the same pertinent
            purposes animate the two statutes.
                                        -60-
                                         60

            that in Palmer we overstated Congress' purposes evinced in
            S 1331.
                      On review of the Third Circuit's 
                                                     Cipollone opinions,
            the Supreme Court acknowledged the S 1331-based "protection of
            national economy" theory, quoting the same phrase we quoted in
            Palmer when reviewing the prior proceedings of the case.  See
            Cipollone, 505 U.S. at 511.  None of the court's opinions,
            however, either affirmed or elaborated upon this theory.
            Rather, a majority of the Court agreed that the two purposes
            expressed in S 1331 were "(1) adequately informing the public
            [of any adverse health effects of smoking
                                                    ], and (2) protecting
            the national economy  from  
                                        the  
                                             burden  
                                                    imposed  
                                                             by  
                                                                 diverse,
            nonuniform, 
                        and 
                            confusing 
                                      cigarette 
                                                labeling 
                                                         and 
                                                              advertising
            regulations." 505 U.S. at 514 (emphasis added). Therefore,
            when faced squarely with the opportunity, the majority
            recognized neither a statutory purpose to protect the tobacco
            industry from all state-imposed commercial burdens, nor some
                                
            32.  The Third Circuit produced a number of published opinions
            for the Cipollone case. Although the Supreme Court discussed
            the Court of Appeals' opinion published at 789 F.2d 181 (1986),
            it accepted review of the case published at 893 F.2d 541
            (1990).
            33.  The Court also cited   Palmer as an example of a case
            following the Third Circuit's analysis in Cipollone, 789 F.2d
            181.  See Cipollone, 505 U.S. at 508 n.2.
            34.  We modify the Court's language here in light of the 1984
            amendment to S 1331(1) reflecting the new rotating warning
            system. 
                                        -61-
                                         61

            overarching "balance" from which an expansive domain of
            preemption might flow.
                      The Court's evident rejection of the lower court's
            "balance of national interests theory" is reflected in the
            Court's refusal to engage in an implied preemption analysis
            even as to those claims not expressly preempted. Had the Court
            been inclined to recognize and give preemptive effect to the
            asserted balance, it might have found preempted the surviving
            failure-to-warn and fraudulent misrepresentation claims which,
            if successful, would certainly inflict a burden upon the
            tobacco trade. Instead, the Court recognized the limited
            purpose of avoiding the burden on the national economy
            specifically posed by nonuniform labeling and advertising
            regulations.  Moreover, the Court indicated that Congress
                                
            35.  As indicated earlier, the 
                                          Cipollone Court did not address
            the CSEA and its amendments to the FCLAA. We see no reason,
            however, why the CSEA would change the Court's interpretation
            of the text of S 1331(2), which has never been amended,
            regarding the nature of the burden to the national economy
            sought to be avoided under the FCLAA. While the CSEA
            necessarily furthers the congressional purposes expressed in
            S 1331, nothing in the 1984 amendments suggests that it alters
            the scope of the protected interest expressed in S 1331(2), as
            interpreted by the Court in Cipollone.
            36.  At this point, we will not speculate as to the nature and
            character of the burden created should other states impose
            differing reporting requirements.  See English 496 U.S. at 90
            (finding certain imagined prospects "simply too speculative a
            basis on which to rest a finding of pre-emption"). Although
            the cigarette manufacturers cite dozens of pending tobacco-
            disclosure bills in state legislatures, even if we assume the
            bills will become law, see Minn. H.F. 117 S 5, the resulting
            burden is qualitatively different, and seemingly significantly
            lesser, than that created by varying warning requirements in
                                        -62-
                                         62

            addressed this concern largely, if not solely, through the
            express preemption clause, which we have addressed above. See
            Cipollone, 505 U.S. at 514; see also S. Rep. No. 91-566, 1970
            U.S.C.C.A.N. at 2663 (explaining that preemption clause was
            necessary "to avoid the chaos created by a multiplicity of
            conflicting [cigarette advertising] regulations").
                      We cannot ignore the 
                                          Cipollone majority's reading of
            the congressional purpose evinced in S 1331, which is
            considerably more limited than our enunciation in Palmer and
            the manufacturers' current contentions. Given the Court's
            narrower interpretation, we conclude that the Disclosure Act
            does not impede either purpose expressed in S 1331 because it
            neither obstructs the congressionally mandated warning labels,
            nor (for the reasons expressed previously) impedes the national
            economy by imposing a diverse or nonuniform advertising
            regulation. Although S 1331 may express some general concern
            for protecting commerce and the national economy, we will not
            find preemption where a state law merely creates some general
            tension with a federal law's abstract objectives.         See
            Commonwealth Edison Co.
                                   v. 
                                      Montana, 453 U.S. 609, 633-34 (1981)
            (finding no "congressional intent to pre-empt all state
            legislation that may have an adverse impact on the use of coal"
            despite general national policy to encourage use of coal);
                                
            the production of labels and advertising for each product and
            brand.
                                        -63-
                                         63

            Laurence H. Tribe, 
                              American Constitutional Law
                                                          S 6-26, p. 487-
            88 (2d ed.) (1988). Indeed, had Congress intended to protect
            the tobacco industry from negative state action generally, then
            surviving police regulations, such as prohibitions on smoking
            in public buildings or on tobacco use by minors, or state
            taxation, would also be preempted.  See S. Rep. 91-566, 1970
            U.S.C.C.A.N. at 2663.
                      Having found that the purported general national
            policy does not yield a special statutory feature that warrants
            preemption, we turn to specific statutory provisions with which
            the Disclosure Act allegedly conflicts. Cf. 
                                                        Montana, 453 U.S.
            at 634.
                           b. Conflict with Federal Reporting Provisions?
                      The manufacturers contend that the Disclosure Act
            conflicts with, and effectively "repeals," Congress' carefully
            wrought ingredient reporting scheme. They argue that the
            federal anonymity and confidentiality protections show
            congressional intent to oust state laws such as the Disclosure
            Act, which demand product-specific and brand-specific
            information without protection of confidentiality. Normally,
            however, state laws are not preempted "'solely because they
            impose liability over and above that authorized by federal
            law.'" English, 496 U.S. at 89 (quoting 
                                                    California v. 
                                                                  ARC Am.
            Corp., 490 U.S. 93, 105 (1989)). Rather, we must find "some
            specific suggestion in the text or legislative history" of the
                                        -64-
                                         64

            allegedly preempting federal law to conclude that Congress
            intended to preempt additional state liabilities.  Id.
                      On their face, the FCLAA and Smokeless Tobacco Act do
            not protect generally the confidentiality of tobacco-industry
            ingredient information. Rather, they secure only "information
            provided to the Secretary under [the reporting provisions]."
            15 U.S.C. SS 1335a(b)(2)(A), 4403(b)(2)(A). By like token, the
            provisions mandating the Secretary to establish confidentiality
            procedures, while notable for their specificity, apply only to
            the information provided to her under the statutes.       See
            SS 1335a(b)(2)(C), 4403(b)(2)(C). Furthermore, as the
            manufacturers concede, the statutes do not confer "trade
            secret" or "confidential" status upon the information, but only
            "treat[]" it as such.  Id.
                      While the statutes strictly forbid unauthorized
            disclosure, the proscriptions govern the conduct of only
            certain federal officers or employees. For example, the laws
            bestow upon the collected information the benefit of the trade
            secrets exemption in the Freedom of Information Act ("FOIA").
            See 5 U.S.C. S 552(b)(4). The FOIA, however, by its own terms,
            applies only to federal executive branch agencies.     See 5
            U.S.C. SS 551(1), 552(a). Thus, HHS employees and other
            federal employees need not make publicly available the
                                
            37.  The proscriptions against disclosure are subject to any
            request by a congressional committee or subcommittee.  See 15
            U.S.C. SS 1335a(b)(2)(B), 4403(b)(2)(B).
                                        -65-
                                         65

            collected information under the FOIA, but the exemption would
            not inhibit the conduct of state agencies possessing such
            information, which are not governed by the FOIA in the first
            instance. The FCLAA further indicates Congress' strong intent
            to ensure the confidentiality of the collected information by
            incorporation of 18 U.S.C. S 1905, which criminalizes
            unauthorized disclosure of confidential or trade secret
            information. Again, section 1905 itself applies only to "an
            officer or employee of the United States or of any department
            or agency thereof" and certain other persons not implicated
            here.  Id.
                      Moreover, the legislative histories referencing the
            reporting provisions make little or no mention of the ancillary
            confidentiality protections and certainly do not reveal any
            intent generally to safeguard industry ingredient-information
            outside of the lists provided to the Secretary. With regard to
            the reporting provision in the CSEA, House Report 805
            accompanying the CSEA explains only that it "would permit the
            federal government to initiate the toxicologic research
            necessary to measure any health risk posed by additives and
            other ingredients to cigarettes during the manufacturing
            process." H.R. Rep. No. 98-805, at 21, 1984 U.S.C.C.A.N. at
            3734. Senate Report 209 accompanying the Smokeless Tobacco Act
            states only that the provision "is included to further the
            accumulation of knowledge about the health risks of smokeless
                                        -66-
                                         66

            tobacco use, particularly the possible hazards of substances
            added to tobacco to enhance flavor and for other purposes." S.
            Rep. No. 99-209 at 14, 1986 U.S.C.C.A.N. p. 13. The reports
            neither discuss nor elaborate upon the purpose of the
            confidentiality protections.
                      The textual and historical indications lead to the
            conclusion that Congress primarily intended the reporting
            provisions in the FCLAA and Smokeless Tobacco Act to further
            toxicological research. By "treat[ing]" the collected
            information as a "trade secret" or "confidential," the statutes
            further the primary research objective in a meaningful, but
            limited, way: facilitating ready access to the ingredient
            information required for research purposes by assuring the
            tobacco industry that any trade secret interests in the
            information provided to the Secretary will be safeguarded.
                                                                      In
            our view, the fact that Congress took great care to safeguard
            reported ingredient information at most indicates that Congress
            presumed the information's confidential nature for the purposes
            of its regime. Perhaps Congress even assumed that there was no
            question as to the trade secret status of the ingredient
            information. Underlying assumptions, however, do not merit
            preemptive force; legislative enactments do. Our review of the
                                
            38.  Furthermore, the mere fact that Congress found an
            aggregate form of ingredients disclosure sufficient for its
            purposes is no indication that increased state requirements
            would conflict with its own scheme.
                                        -67-
                                         67

            statutory text and legislative history does not yield the
            requisite clear and manifest congressional intent to speak
            nationally and finally on the general confidential status of
            tobacco-product ingredients.
                      Thus, while Congress proceeded expeditiously with its
            health research objectives by treating the ingredient
            information as a trade secret, it did not thereby preempt
            States from otherwise lawfully obtaining (or attempting to
            obtain) such information. Moreover, that Congress did not
            intend through the FCLAA and Smokeless Tobacco Act nationally
            to protect all tobacco-product ingredients information does not
            necessarily force the manufacturers to reveal their purported
            trade secrets. The manufacturers may well have valid trade
            secret interests that are threatened by the Disclosure Act.
            The actual merit of any trade secret claim, however, is not
            before us now, and we are not at liberty to speculate as to the
                                
            39.  We are thus unpersuaded by the manufacturers' citation of
            isolated bits of hearing testimony referring to the CSEA's
            protection of "trade secret" ingredient information. 
                                                                See 
                                                                    e.g.,
            130 Cong. Rec. 24,626 (1984). Such statements, while
            indicative of Congress' intent to protect the presumed
            confidential status of the information provided to the
            Secretary, do not reveal a purpose to grant tobacco-product
            manufacturers nationwide immunity from state attempts to obtain
            and publicize ingredient information. 
                                                 Cf. 
                                                     Mortier, 501 U.S. at
            614-15 (finding no actual conflict where frustration of
            purported federal purpose relied on "little more than snippets
            of legislative history and policy speculations").
                                        -68-
                                         68

            resolution of the issue.  Cf. 
                                         CSX Transp., Inc.
                                                           v. 
                                                              Easterwood,
            507 U.S. 658, 675 n.12 (1993) (after finding no preemption,
            refusing to speculate as to outcome of state law action).
                      The manufacturers insist that enforcement of the
            Disclosure Act will circumvent or otherwise nullify federal law
            because it potentially allows widespread access to information
            that, when in the federal government's hands, would not be
            publicly available. Having found, however, that national
            trade-secret protection of ingredient information is neither a
            feature nor an objective of the statutes, the state law does
            not "nullify" the federal confidentiality protections because
            the information submitted under the federal regime itself is
            not affected by it. In other words, enforcement of the
            Disclosure Act neither directly nor indirectly allows access to
            the information in the HHS's possession. Moreover, because the
            Disclosure Act leaves completely unaffected the requirements,
            procedures, and programs of the FCLAA and Smokeless Tobacco
            Act, it does not interfere with the methods by which Congress
            sought to reach its research and public-education goals.  Cf.
            Ouellette, 479 U.S. at 494 (finding preempted state common-law
            water pollution action which would impermissibly circumvent the
            Clear Water Act's permit system, the method by which federal
            statute was designed to eliminate water pollution);  Wood v.
                                
            40.  From our review of the manufacturers' complaints, it
            appears that the merits of any trade secret claims underlie
            their takings and full faith and credit claims.
                                        -69-
                                         69

            General  
                    Motors  
                            Corp., 865 F.2d 395, 412 (1st Cir. 1988)
            (finding preempted negligence lawsuit for failure to install
            automobile air bag where claim would interfere with Congress'
            scheme to subordinate the states' role in establishing safety
            standards where pertinent federal standard exists).
                      The manufacturers seek solace in Hyde Park Partners
            v. Connolly, 839 F.2d 837 (1st Cir. 1988), involving the
            preemptive effect of the Williams Act, the sole purpose of
            which is "the protection of investors confronted with a tender
            offer."   Id. at 849. The Williams Act requires takeover
            bidders to disclose their acquisition of a 5% stake in a
            corporation within ten days 
                                       after the acquisition, 
                                                              id. at 851,
            whereas the state law at issue penalized takeover bidders who
            failed to disclose their intent before acquiring a 5% stake,
            id. at 840. We explained that the Williams Act struck a
            temporal balance "to provide shareholders with the best of both
            worlds -- disclosure substantial enough and early enough to
            ensure fully informed choices, but not so early that those
            choices will be unduly restricted by the chilling effect on
            takeover bids." Id. at 852. We held that the state law, which
            would likely "discourage takeover attempts to a much greater
            extent than that envisioned by Congress" to the detriment of
            investors, would intrude upon the federal law's careful "point
            of equipoise" and defeat the law's "essential purpose."  Id. 
                                        -70-
                                         70

                      The manufacturers contend that, here, Congress
            carefully chose a "point of equipoise" between ingredient
            reporting and confidentiality, which the Disclosure Act
            impermissibly alters. We disagree. First, unlike the temporal
            public-disclosure balance in 
                                        Hyde Park
                                                 , the purported "point of
            equipoise" itself is not directly disturbed because the
            Disclosure Act has no effect on the federal laws' collection
            and safeguarding efforts with respect to the information
            provided to the Secretary. Second, even assuming the state law
            somehow altered the purported balance, "[u]nder 
                                                           Hyde Park
                                                                    , the
            question is not whether a congressionally calibrated system is
            altered by state law, but   if  
                                            altered,  
                                                     whether  
                                                              the  
                                                                   change
            obstructs the purpose of Congress
                                            ." Associated Indus. of Mass.
            v. Snow, 898 F.2d 274, 282 (1st Cir. 1990) (emphasis added).
            Here, the controlling purpose of the reporting provisions,
            which the confidentiality provisions further, is to permit
            toxicological research to determine the health risks of
            additives. See H.R. Rep. No. 98-805, at 21, 1984 U.S.C.C.A.N.
            at 3734; S. Rep. No. 99-209 at 14, 1986 U.S.C.C.A.N. p. 13.
            Any alterations to the "balance" between reporting and
            confidentiality posed by the Disclosure Act would not frustrate
            this purpose. Rather, if the manufacturers' trade secret and
            other claims ultimately fail and the ingredient information
            that the Disclosure Act mandates becomes public knowledge, the
            state law arguably would further Congress' purpose.
                                        -71-
                                         71

                      Finally, we find no evidence that Congress intended
            to effect national "uniformity" in ingredient reporting and
            disclosure regulations. In  Wood, both the statutory language
            and legislative history indicated Congress' intent to effect
            uniform federal motor-vehicle safety standards throughout the
            country.  See 865 F.2d at 412;  see  also Rini v. United 
                                                                      Van
            Lines, Inc.
                      , 104 F.3d 502, 504 (1st Cir. 1997) (explaining that
            "the principal purpose of the [Carmack] Amendment was to
            achieve national uniformity in the liability assigned to
            carriers"), petition for cert. filed, 65 U.S.L.W. 3422 (U.S.
            Mar. 28, 1997) (No. 96-1800). In this case, while the
            statutory language and legislative history show that Congress
            plainly intended to effect uniform labeling and warning
            requirements, 
                         see 15 U.S.C. SS 1331, 1333, 1334, 4402, 4406(b),
            no such intent regarding ingredient disclosure is apparent.
            Had Congress desired similar uniformity in reporting and
            disclosure efforts, it plainly knew how to accomplish that end.
            The fact remains, however, that it did not.
                      In sum, the reporting provisions protect only the
            particular information provided to the HHS while in the hands
            of HHS employees, and only from disclosure by HHS or certain
            federal government employees. Congress considered the
                                
            41.  We note the observation that a congressional determination
            to effect a nationally uniform standard presents "a situation
            similar in practical effect to that of federal occupation of a
            field." Tribe,  supra S 6-26, at 486.
                                        -72-
                                         72

            submission of aggregate and anonymous ingredient information
            sufficient for its research purposes, and, to be sure, intended
            to safeguard the confidentiality of the information once
            provided. Although Congress apparently accepted any claim to
            the trade secret status of tobacco industry ingredient-
            information, it did not intend to immunize manufacturers
            nationally from any additional reporting or disclosure
            requirements, or to prevent the public from becoming aware of
            such information other than that particularly provided to the
            HHS under the federal schemes. While enforcement of the
            Disclosure Act may ultimately make the confidentiality
            protections somewhat redundant, it does not frustrate the
            controlling congressional purpose to initiate toxicological
            research on the effects of tobacco-product additives. In light
            of the strong presumption against preemption of state health-
            and-safety regulations that governs our analysis, we find that
            the federal statutes' provisions to protect the confidentiality
            of tobacco-product ingredient information do not constitute a
            "special feature" overcoming that presumption.  See  English,
            496 U.S. at 72; Snow, 898 F.2d at 282.
                      4.  Field Occupation
                      Having found no actual conflict between the federal
            laws and the Disclosure Act, we turn to the argument that the
            Disclosure Act nonetheless treads upon an exclusive federal
            regulatory domain. "'Where . . . the field which Congress is
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            said to have pre-empted' includes areas that have 'been
            traditionally occupied by the states,' congressional intent to
            supersede state laws must be '"clear and manifest."'" 
                                                                 English,
            496 U.S. at 79 (quoting Jones v.  Rath 
                                                   Packing 
                                                           Co., 430 U.S.
            519, 525 (1977)) (in turn quoting  Rice v. Santa 
                                                             Fe 
                                                                 Elevator
            Corp., 331 U.S. at 230).
                      It is evident that the FCLAA and Smokeless Tobacco
            Act preempt state regulation in the area of tobacco-product
            labeling and warnings. The statutes do not purport, however,
            to regulate exclusively all other aspects of tobacco-product
            use or sales.   While the reporting provisions address
            ingredient collection and safekeeping "in considerable detail,"
            id., those provisions simply further the statutory goal of
            toxicological research on the part of HHS, with a view toward
            potential additional federal regulatory action. Although the
            federal scheme is in some respects comprehensive, it is not
            "'so pervasive as to make reasonable the inference that
            Congress left no room for the States to supplement it.'"
            Mortier, 501 U.S. at 613 (quoting 
                                             Rice, 331 U.S. at 230).  See
            id. (explaining that while Federal Insecticide, Fungicide, and
            Rodenticide Act had evolved into a "comprehensive regulatory
            statute," it contains "ample room" for supplemental state
                                
            42.  Although the statutes also contain provisions to further
            health education through research, we find no indication that
            Congress intended to oust supplemental state efforts in this
            regard as well.
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                                         74

            efforts); Tart v. Massachusetts, 949 F.2d 490, 501 (1st Cir.
            1991) (preserving state law prohibition on permitless landing
            of raw fish in state because federal fishing licensing statute,
            which authorizes the navigation and taking of fish from state
            territorial waters, does not "occupy the field" of coastal
            fishing).
                      Nor can the manufacturers maintain that the
            Disclosure Act treads upon the preempted domain of labeling and
            advertising. On this point, the Court's analysis in 
                                                               English is
            instructive. In   English, respondent argued that a federal
            provision forbidding retaliation for making a nuclear-safety
            complaint was an integral part of the preempted field of
            nuclear safety, and thus, state law remedies for conduct
            covered under the federal retaliation provision were preempted.
            See 496 U.S. at 82. The Court disagreed, acknowledging that
            while the federal provision "obviously bears some relation to
            the field of nuclear safety, its 'paramount' purpose was the
            protection of employees."   Id. at 83. Moreover, while the
            state law "in some remote way may [have] affect[ed] . . .
            nuclear safety decisions made by those who build and run
            nuclear facilities," it did not fall within the preempted realm
            because it did not have a "direct and substantial effect" on
            the decisionmakers.  Id. at 85.
                      Here, while the federal reporting provisions bear
            some relation to the field of labeling and advertising, their
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                                         75

            "paramount purpose" is to initiate toxicological research into
            the health hazards posed by additives. It would be
            speculative, at best, to envision how the manufacturers'
            reporting obligations to the Massachusetts Department of Public
            Health under the Disclosure Act might have a remote effect,
            much less a direct and substantial one, on federal efforts in
            the area of labeling and advertising.  Cf. Schneidewind, 485
            U.S. at 308 ("Of course, every state statute that has some
            indirect effect on [a preempted realm] is not pre-empted.").
                      Thus, we find no indication in the federal statutes
            that Congress intended to supplant any and all state
            involvement in the area of tobacco-product ingredient
            collecting, monitoring, and review. In the absence of such
            indication, the mere detail by which the statutes collect and
            safeguard ingredient information is insufficient to establish
            a "clear and manifest" intent on the part of Congress to
            supersede state laws, English, 496 U.S. at 79, or otherwise
            overcome the presumption against preemption, see Hillsborough
            County, 471 U.S. at 715. "Given this statutory scheme, it is
            for Congress to rethink the division of regulatory authority in
            light of its possible exercise by the States to undercut a
            federal objective." Pacific Gas &amp; Electric
                                                      v. 
                                                         Energy Resources
            Comm'n, 461 U.S. 190, 223 (1983).
                                
            43.  The cigarette manufacturers also assert that the
            Disclosure Act is not a matter of "local concern" because it
            addresses an issue of national significance as to which
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                                         76

                                         V.
                                     Conclusion
                      Although Congress sought through the FCLAA and the
            Smokeless Tobacco Act to achieve several goals on the subject
            of tobacco-product use and health, preventing states from
            obtaining information regarding product additives and
            disclosing such information to the public was not one of them.
            Congress is free, of course, to enact legislation to bar the
            operation of laws such as the Disclosure Act. We are
            satisfied, however, that it has not done so yet, and "[t]he
            courts should not assume the role which our system assigns to
            Congress."  Pacific Gas &amp; Electric, 461 U.S. at 223.
                      For the foregoing reasons, we  affirm the district
            court's ruling that the Massachusetts Disclosure Act survives
            the manufacturers preemption challenge.  Costs to Appellees.
                                
            Massachusetts has no special or unique interest and that, by
            its very nature, it will necessarily have nationwide impact
            thereby contradicting a policy decision made for the nation by
            Congress. To the extent this argument touches upon the
            "balance of national interests" theory, we have disposed of
            that above for the purposes of preemption analysis. To the
            extent the argument touches upon any Commerce Clause claims,
            see generally Hyde Park, 825 F.2d at 843-48, the issue is not
            properly before us here.
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                                         77

                                     Appendix A
            In its entirety, the Massachusetts Disclosure Act provides:
            S 307B. Manufacture of tobacco products; annual reports
            including added constituents and nicotine yield ratings;
            disclosure; exclusions
                      For the purpose of protecting the public health, any
            manufacturer of cigarettes, snuff or chewing tobacco sold in
            the commonwealth shall provide the department of public health
            with an annual report, in a form and at a time specified by
            that department, which lists for each brand of such product
            sold the following information:
            (a) The identity of any added constituent other than tobacco,
            water or reconstituted tobacco sheet made wholly from tobacco,
            to be listed in descending order according to weight, measure,
            or numerical count; and
            (b) The nicotine yield ratings, which shall accurately predict
            nicotine intake for average consumers, based on standards to be
            established by the department of public health.
                      The nicotine yield ratings so provided, and any other
            such information in the annual reports with respect to which
            the department determines that there is a reasonable scientific
            basis for concluding that the availability of such information
            could reduce risks to public health, shall be public records;
            provided, however, that before any public disclosure of such
            information the department shall request the advice of the
            attorney general whether such disclosure would constitute an
            unconstitutional taking of property, and shall not disclose
            such information unless and until the attorney general advises
            that such disclosure would not constitute an unconstitutional
            taking.
                      This section shall not require a manufacturer, in its
            report to the department or otherwise, to identify or disclose
            the specific amount of any ingredient that has been approved by
            the Food and Drug Administration, Public Health Service, United
            States Department of Health and Human Services ("FDA"), or its
            successor agency, as safe when burned and inhaled or that has
            been designated by the FDA, or its successor agency, as
            generally recognized as safe when burned and inhaled, according
            to the Generally Recognized As Safe list of the FDA.
            Mass. Gen. Laws ch. 94, S 307B.
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